 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                   Texas
 Western (San Antonio) District of _________________
 ____________________
                                       (State)
                                                           7
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          AAF Players, LLC
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer             8 3          1 1 9 0 4 4 0
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            4525       Macro
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            San Antonio                TX       78218
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Bexar
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 https://aaf.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            ✔


                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
Debtor           AAF Players, LLC
                _______________________________________________________                              Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above
                                          ✔




                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              7112
                                              ___ ___Spectator
                                                      ___ ___  Sports

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          ✔


                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                   4/01/19 and every 3 years after that).
                                                               
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                   debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                   of operations, cash-flow statement, and federal income tax return or if all of these
                                                                   documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                  A plan is being filed with this petition.

                                                                  Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                   for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.     District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.                 See Schedule 1                                                      Affiliate
                                                    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                      District
                                                                 Western District of Texas (San Antonio)
                                                                _____________________________________________         When          04/17/2019
                                                                                                                                   __________________
      List all cases. If more than 1,                                                                                              MM /   DD   / YYYY
      attach a separate list.                       Case number, if known ________________________________


     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 2
Debtor         AAF Players, LLC
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                        ✔




12.   Does the debtor own or have       No
                                        ✔

      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _____________________________________________________________________

                                                    It needs to be physically secured or protected from the weather.

                                                    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                    Other _______________________________________________________________________________



                                                 Where is the property?_____________________________________________________________________
                                                                           Number          Street

                                                                           ____________________________________________________________________

                                                                           _______________________________________         _______     ________________
                                                                           City                                            State       ZIP Code


                                                 Is the property insured?
                                                    No
                                                    Yes. Insurance agency ____________________________________________________________________

                                                          Contact name     ____________________________________________________________________

                                                          Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                        ✔




                                        1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                            5,001-10,000                             50,001-100,000
      creditors
                                        100-199                          10,001-25,000                            More than 100,000
                                        200-999
                                        ✔




                                        $0-$50,000
                                        ✔                                 $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                                           SCHEDULE 1
                      Bankruptcy Cases Filed by the Debtor and Its Affiliates
        As of the date of this filing, each of the entities listed below filed a petition in this Court

for relief under chapter 7 of title 11 of the United States Code.

             AAF Players, LLC
             AAF Properties, LLC
             Ebersol Sports Media Group, Inc.
             Legendary Field Exhibitions, LLC
             LFE 2, LLC
             We Are Realtime, LLC




#5909959.1 
                         IN THE UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION


    In re                                                              Chapter 7

    Legendary Field Exhibitions, LLC, et al.,                          Case No.

                                  Debtors.1


              CORPORATE OWNERSHIP STATEMENT OF AAF PLAYERS, LLC

            Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(1), the following are

corporations, other than a governmental unit, that directly or indirectly own 10% or more of any

class of AAF Players, LLC’s equity interests.2

                                                    Shareholder
                           Legendary Field Exhibitions, LLC
                           Ebersol Sports Media Group, Inc.
                           Teddy Bright Pictures, Inc.
                           FO2 LLC



                                 [Remainder of page intentionally left blank]




1
    The Debtors in these chapter 7 cases are: Legendary Field Exhibitions, LLC; AAF Players, LLC; AAF Properties,
    LLC; Ebersol Sports Media Group, Inc.; LFE 2, LLC; and We Are Realtime, LLC. The Debtors’ main corporate and
    mailing address for purposes of these chapter 7 cases is: 4525 Macro, San Antonio, TX 78218.
2
    On February 14, 2019, Dundon Capital Partners LLC acquired the right to 75% senior ownership and control in
    Ebersol Sports Media Group, Inc., the Debtor's ultimate parent. The form of such capital security to be defined in
    definitive documentation at the sole discretion of Dundon Capital Partners LLC, but in all events senior to any
    other existing capital securities of Ebersol Sports Media Group, Inc. Such definitive documentation was not
    completed prior to filing.



#5909858.4
Respectfully Submitted,

       BRACEWELL LLP

       /s/ William A. (Trey) Wood III
       William A. (Trey) Wood III
       Texas Bar No. 21916050
       Trey.Wood@bracewell.com
       Jason G. Cohen
       Texas Bar No. 24050435
       Jason.Cohen@bracewell.com
       711 Louisiana, Suite 2300
       Houston, Texas 77002
       Telephone: (713) 222-3055
       Facsimile: (713) 221-1212

       Counsel For Debtors




  2
                                   WRITTEN CONSENT

                                           OF THE

                            MANAGER AND SOLE MEMBER

                                              OF

                                    AAF PLAYERS, LLC


       The undersigned, being the sole member and the duly appointed manager of AAF
Players, LLC, a Delaware limited liability company (the “Company”), and, being entitled to vote
upon the approval of the resolutions attached hereto as Exhibit A (the “Resolutions”), hereby
consent to the adoption of the Resolutions without a meeting of the sole member or the manager
of the Company to have the same force and effect as if approved by at a formal meeting of the
Company duly called and held for the purpose of approving the Resolutions.

        IN WITNESS WHEREOF, the undersigned have executed this written consent to be
effective as of the first date on which it has been executed by the sole member and the manager.


                                         MANAGER


                                                                                 Date: 4/16/2019
                                         Charles Ebersol


                                         SOLE MEMBER

                                         Legendary Field Exhibitions, LLC

                                         By: Ebersol Sports Media Group, Inc.,
                                             its sole member


                                                                                 Date: 4/16/2019
                                         Charles Ebersol
                                         Chief Executive Officer




#5910099
                                              Exhibit A

             RESOLUTIONS OF THE SOLE MEMBER AND MANAGER OF
                             AAF PLAYERS, LLC

                                           April 16, 2019
CHAPTER 7 FILING

WHEREAS, each of the sole member (the “Member”) and the manager (the “Manager”) of AAF
Players, LLC (the “Company”) has reviewed and discussed the financial and operational
condition of the Company and the Company’s business on the date hereof, including the current
and historical performance of the Company, the assets and liquidity of the Company, the current
long-term liabilities of the Company, the market for the Company’s services, and credit market
conditions; and

WHEREAS, the Member and the Manager have received, reviewed, and discussed the
recommendations of senior management of the Company and the Company’s legal, financial,
and other advisors as to the relative risks and benefits of the strategic alternatives available to the
Company, including pursuing a bankruptcy proceeding under the provisions of Title 11 of the
United States Code (the “Bankruptcy Code”); and

WHEREAS, after review and discussion and due consideration of all of the information
presented to the Member and the Manager, the Member and the Manager deem it advisable and
in the best interests of the Company, including without limitation, its creditors, employees, and
other investors, stakeholders and other interested parties, for the Company to file a voluntary
petition for relief under chapter 7 of the Bankruptcy Code.

NOW, THEREFORE, BE IT, RESOLVED, that in the judgment of the Member and the
Manager, it is desirable and in the best interests of the Company, its creditors, and other parties
in interest, that the Company shall be and hereby is authorized to file or cause to be filed a
voluntary petition for relief (such voluntary petition, the “Chapter 7 Case”) under the provisions
of the Bankruptcy Code in the United States Bankruptcy Court for the Western District of Texas
or another court of proper jurisdiction (the “Bankruptcy Court”); and

RESOLVED, that Charles Ebersol, and Kevin Farrell, the Head of Corporate Operations (the
“Authorized Signatories”), acting alone or with one or more other Authorized Signatories be, and
hereby are, authorized, empowered and directed to execute and file on behalf of the Company all
petitions, schedules, lists and other motions, papers, or documents, and to take any and all action
that they deem necessary or proper to obtain such relief, including, without limitation, any action
necessary to maintain the ordinary course operation of the Company’s business; and

RETENTION OF PROFESSIONALS

RESOLVED, that the Authorized Signatories be, and each hereby is, authorized and directed to
employ the law firm of Bracewell LLP as bankruptcy counsel to represent and assist the
Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to


                                                 -2-
#5910099
advance the Company’s rights and obligations, including filing any pleadings; and in connection
therewith, the each of the Authorized Signatories, with power of delegation, is hereby authorized
and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
to be filed an appropriate application for authority to retain the services of Bracewell LLP; and

RESOLVED, that the Authorized Signatories be, and each hereby is, authorized and directed to
employ any other professionals to assist the Company in carrying out its duties under the
Bankruptcy Code; and in connection therewith, each Authorized Signatory, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of any other professionals as necessary; and

RESOLVED, that the Authorized Signatories be, and each hereby is, with power of delegation,
authorized, empowered and directed to execute and file all petitions, schedules, motions, lists,
applications, pleadings, and other papers and, in connection therewith, to employ and retain all
assistance by legal counsel, accountants, financial advisors, and other professionals and to take
and perform any and all further acts and deeds that the Authorized Signatory deems necessary,
proper, or desirable in connection with the Company’s Chapter 7 case, with a view to the
successful prosecution of such case; and

GENERAL

RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, the Authorized Signatories (and their designees and delegates) be, and
each hereby is, authorized and empowered, in the name of and on behalf of the Company, to take
or cause to be taken any and all such other and further action, and to execute, acknowledge,
deliver and file any and all such agreements, certificates, instruments and other documents and to
pay all expenses, including but not limited to filing fees, in each case as in such signatory’s or
signatories’ judgment, shall be necessary, advisable or desirable in order to fully carry out the
intent and accomplish the purposes of the resolutions adopted herein; and

RESOLVED, that the Member and the Manager have received sufficient notice of the actions
and transactions relating to the matters contemplated by the foregoing resolutions, as may be
required by the organizational documents of the Company, or hereby waive any right to have
received such notice; and

RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
foregoing resolutions done in the name of and on behalf of the Company, which acts would have
been approved by the foregoing resolutions except that such acts were taken before the adoption
of these resolutions, are hereby in all respects approved and ratified as the true acts and deeds of
the Company with the same force and effect as if each such act, transaction, agreement, or
certificate has been specifically authorized in advance by resolution of the Member and the
Manager; and

RESOLVED, that the Authorized Signatories (and their designees and delegates) be, and each
hereby is, authorized and empowered to take all actions or to not take any action in the name of


                                                 -3-
#5910099
the Company with respect to the transactions contemplated by these resolutions hereunder as the
sole shareholder, partner, member, or managing member of each direct subsidiary of the
Company, in each case, as the Authorized Signatory shall deem necessary or desirable in the
Authorized Signatory’s reasonable business judgment as may be necessary or convenient to
effectuate the purposes of the transactions contemplated herein.



                                             ***




                                              -4-
#5910099
                        IN THE UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


In re                                                           Chapter 7

Legendary Field Exhibitions, LLC, et al.,                       Case No.
           1
Debtors.



            GLOBAL NOTES, METHODOLOGY, AND SPECIFIC DISCLOSURES
              REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
               LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                 Introduction

       Ebersol Sports Media Group, Inc. (“ESMG”) and its affiliated debtors (collectively, the
“Debtors”) are filing their respective Schedules of Assets and Liabilities (the “Schedules”) and
Statements of Financial Affairs (the “Statements,” and together with the Schedules, the
“Schedules and Statements”) with the United States Bankruptcy Court for the Western District
of Texas, San Antonio Division (the “Bankruptcy Court”).

The Schedules and Statements were prepared pursuant to Bankruptcy Code section 521 and
Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by
management of the Debtors with unaudited information available as of the Petition Dates.

The Debtors’ management prepared the Schedules and Statements with the assistance of their
financial and legal advisors. The Schedules and Statements are unaudited. The Debtors’
management and advisors have made reasonable efforts to ensure that the Schedules and
Statements are as accurate and complete as possible under the circumstances based on
information that was available to them at the time of preparation; however, subsequent
information or discovery may result in material changes to the Schedules and Statements and
inadvertent errors or omissions may exist. Notwithstanding any such discovery or new
information, the Debtors shall not be required to update the Schedules and Statements.
Furthermore, nothing contained in the Schedules and Statements shall constitute a waiver of

1
    The Debtors in these chapter 7 cases are: Legendary Field Exhibitions, LLC; AAF Players, LLC; AAF Properties,
    LLC; Ebersol Sports Media Group, Inc; LFE 2, LLC; and We are Realtime, LLC. The Debtors’ main corporate
    and mailing address for purposes of these chapter 7 cases is: 4525 Macro, San Antonio, TX 78218.


                                                        1
rights with respect to these Chapter 7 Cases, including to issues involving substantive
consolidation, equitable subordination, and causes of action arising under provisions of chapter
5 of the Bankruptcy Code and other relevant non-bankruptcy laws to recover assets or avoid
transfers.

These Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’ Schedules
of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”) relate to each
Debtor’s Schedules and Statements and set forth the basis upon which the Schedules and
Statements are presented. These Global Notes comprise an integral part of all of the Schedules
and Statements and should be referred to and considered in connection with any review of the
Schedules and Statements. The Schedules and Statements do not purport to represent financial
statements prepared in accordance with Generally Accepted Accounting Principles in the
United States (“GAAP”), nor are they intended to be fully reconciled with the financial
statements of each Debtor. Additionally, the Schedules and Statements contain unaudited
information that is subject to further review and potential adjustment and reflect the Debtors’
commercially reasonable efforts to report the assets and liabilities of each Debtor on an
unconsolidated basis.

The Schedules and Statements should not be relied upon by any person for information
relating to current or future financial conditions, events or performance of any of the
Debtors. Due to numerous unliquidated, contingent and/or disputed claims, summary
statistics in the Schedules and Statements likely significantly understate the Debtors’
liabilities. The Debtors and their agents, attorneys, and advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein and shall not be liable for any
loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially
reasonable efforts have been made to provide accurate and complete information herein,
inadvertent errors or omissions may exist. The Debtors and their agents, attorneys, and
advisors expressly do not undertake any obligation to update, modify, revise, or recategorize
the information provided herein, or to notify any third party should the information be updated,
modified, revised, or recategorized.

In no event shall the Debtors or their agents, attorneys, and financial advisors be liable to any
third party for any direct, indirect, incidental, consequential, or special damages (including, but
not limited to, damages arising from the disallowance of a potential claim against the Debtors
or damages to business reputation, lost business, or lost profits), whether foreseeable or not and
however caused, even if the Debtors or their agents, attorneys, and financial advisors are
advised of the possibility of such damages.


                                                 2
Kevin Farrell, Head of Corporate Operations, has signed each of the Schedules and Statements.
Mr. Farrell is an authorized signatory for each of the Debtors. In reviewing and signing the
Schedules and Statements, Mr. Farrell necessarily has relied upon the efforts, statements, and
representations of various personnel involved in the Debtors’ businesses and their advisors.
Mr. Farrell has not (and could not have) personally verified the accuracy of each statement and
representation contained in the Schedules and Statements, including statements and
representation concerning amounts owed to creditors, classification of such amounts, and
creditor addresses.


Global Notes and Overview of Methodology

1.      Consolidation of Books and Records. The Debtors’ books and records have been
maintained only on a consolidated basis since inception rather than on a legal entity basis. As
such, the Schedules and Statements have been prepared on a “best efforts” basis to list assets
for each legal entity based on the Debtors’ business operations.

2.      Net Book Value of Assets. It would be prohibitively expensive and unduly
burdensome to obtain current market valuations for all of the Debtors’ property interests.
Unless otherwise stated, the Schedules and Statements reflect net book values as of January 31,
2019, the date that the most recent financial statements were completed. Due to the timing of
the preparation of these Schedules and Statements, the Debtors’ financials as of the Petition
Date are not yet available. Where more recent data is available, the Debtors have endeavored to
reflect this information in the Schedules and Statements. The book values of certain assets may
materially differ from their fair market values. For the avoidance of doubt, nothing contained
in the Schedules and Statements is indicative of the Debtors’ enterprise value.

Book values of assets prepared in accordance with GAAP generally do not reflect the current
performance of the assets or the impact of the current price environment and may differ
materially from the actual value and/or performance of the underlying assets.

3.      Liabilities. The liability information provided herein represents the estimated liability
data of the Debtors as of the Petition Date, except as otherwise noted. Amounts presented
herein are based on the Debtors’ reasonable efforts to determine amounts owed to creditors as
of the Petition Date. Amounts owed to vendors for certain goods in transit which have not yet
been received at the Debtors’ facilities or services provided for which invoices have not been
received as of April 11, 2019, may be understated due to lack of sufficient information.




                                                3
Accordingly, the Debtors reserve all of their rights to amend, supplement, or otherwise modify
the Schedules and Statements as is necessary or appropriate.

The liabilities listed on the Schedules do not reflect any analysis of claims under section
503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to
dispute or challenge the validity of any asserted claims under section 503(b)(9) of the
Bankruptcy Code or the characterization of the structure of any such transaction or any
document or instrument related to any creditor’s Claim.

4.      Leases. In the ordinary course of their businesses, the Debtors lease facilities from
certain third-party lessors for use in their daily operations. Any such leases are set forth in
Schedule G. The property subject to any of such leases is not reflected in either Schedule A or
Schedule B as either owned property or assets of the Debtors. Neither is the property subject to
any such leases reflected in the Statements as property or assets of third-parties within the
control of a Debtor. Nothing in the Schedules is or shall be construed as an admission or
determination as to the legal status of any lease (including whether any lease is a true lease or a
financing arrangement), and the Debtors reserve all rights with respect to any such issues.

5.     Reservation of Rights. Reasonable efforts have been made to prepare and file
complete and accurate Schedules and Statements, but inadvertent errors or omissions may exist.
Nothing contained in the Schedules and Statements or the Global Notes shall constitute a
waiver of rights with respect to the Chapter 7 Cases, including, but not limited to, issues
involving substantive consolidation, equitable subordination, characterization or
re-characterization of contracts, assumption or rejection of executory contracts under the
provisions of chapter 3 of the Bankruptcy Code and causes of action arising under the
provisions of chapter 5 of the Bankruptcy Code or any applicable non-bankruptcy laws to
recover assets or avoid transfers.

             (a)   Schedules D and E/F permit each of the Debtors to designate a Claim as
                   “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a
                   claim listed on the Schedules and Statements as “disputed,” “contingent” or
                   “unliquidated” does not constitute an admission by the Debtors that such
                   amount is not “disputed,” “contingent” or “unliquidated.” The Debtors
                   reserve the right to dispute, or to assert setoff rights, counterclaims or
                   defenses to, any claim reflected on its Schedules and Statements as to
                   amount, liability or classification, or to otherwise subsequently designate any
                   claim as “disputed,” “contingent” or “unliquidated.”




                                                 4
(b)   Listing a claim on the Schedules and Statements as “secured” does not
      constitute an admission by the Debtors of the legal rights of the claimant, or
      a waiver of the Debtors’ right to reclassify such claim or contract.
      Moreover, although the Debtors may have scheduled claims of various
      creditors as secured claims for informational purposes, no current valuation
      of the Debtors’ assets in which such creditors may have a lien has been
      undertaken. The Debtors reserve all rights to dispute or challenge the
      secured nature of any such creditor’s claims or the characterization of the
      structure of any transaction, or any document or instrument related to such
      creditor’s claim.

(c)   Listing a claim on the Schedules and Statements as “unsecured priority” does
      not constitute an admission by the Debtors of the legal rights of the claimant.
      The Debtors hereby expressly reserve the right to assert that any claim listed
      as unsecured priority does not constitute an unsecured priority claim under
      section 507 of the Bankruptcy Code and thus constitutes an unsecured
      nonpriority claim.

(d)   The Debtors’ businesses are part of a complex enterprise. Although the
      Debtors have made every effort to ensure the accuracy of their Schedules and
      Statements, inadvertent errors, omissions or inclusion may have occurred.
      The Debtors hereby reserve all of their rights to dispute the validity, status or
      enforceability of any contracts, agreements or leases set forth on the
      Schedules and Statements and to amend further or supplement the Schedules
      and Statements as necessary.

(e)   The Debtors further reserve all of their rights, claims and causes of action
      with respect to the contracts and agreements listed on the Schedules and
      Statements, including the right to dispute or challenge the characterization or
      the structure of any transaction, document or instrument related to a
      creditor’s claim.

(f)   Debtors may not have identified certain guarantees associated with the
      Debtors’ executory contracts, unexpired leases, and other such agreements.
      The Debtors reserve all of their rights to amend the Schedules to the extent
      that additional guarantees are identified or such guarantees are discovered to
      have expired or be unenforceable. In the ordinary course of their businesses,
      the Debtors may be involved in pending or threatened litigation. These
      matters may involve multiple plaintiffs and defendants, some or all of whom


                                    5
      may assert cross-claims and counter-claims against other parties. Because
      all such claims are contingent, disputed and/or unliquidated, such claims
      have not been set forth individually on Schedule H. Litigation matters can
      be found on each Debtor’s Schedule F and Statement 7, as applicable. It is
      possible that certain guaranties embedded in the Debtors’ executory
      contracts, unexpired leases, secured financings, debt instruments, and other
      such agreements may have been inadvertently omitted. The Debtors reserve
      their rights to amend the Schedules and Statements to the extent additional
      guaranties are identified. In addition, the Debtors reserve the right to amend
      the Schedules and Statements and to recharacterize or reclassify any such
      contract or claim, whether by amending the Schedules and Statements or in
      another appropriate filing.

(g)   Despite their commercially reasonable efforts to identify all known assets,
      the Debtors may not have listed all of their causes of action or potential
      causes of action against third-parties as assets in the Schedules and
      Statements, including, without limitation, causes of actions arising under the
      provisions of chapter 5 of the Bankruptcy Code and any other relevant
      non-bankruptcy laws to recover assets or avoid transfers. The Debtors
      reserve all of their rights with respect to any cause of action (including
      avoidance actions), controversy, right of setoff, cross claim, counterclaim, or
      recoupment and any claim on contracts or for breaches of duties imposed by
      law or in equity, demand, right, action, lien, indemnity, guaranty, suit,
      obligation, liability, damage, judgment, account, defense, power, privilege,
      license, and franchise of any kind or character whatsoever, known, unknown,
      fixed or contingent, matured or unmatured, suspected or unsuspected,
      liquidated or unliquidated, disputed or undisputed, secured or unsecured,
      assertable directly or derivatively, whether arising before, on, or after the
      Petition Date, in contract or in tort, in law or in equity, or pursuant to any
      other theory of law (collectively, “Causes of Action”) they may have, and
      neither these Global Notes nor the Schedules and Statements shall be
      deemed a waiver of any claims or Causes of Action or in any way prejudice
      or impair the assertion of such claims or Causes of Action.

(h)   Although the Debtors made diligent attempts to attribute an executory
      contract to its rightful Debtor, in certain instances, the Debtors may have
      inadvertently failed to do so due to the complexity and size of the Debtors’
      businesses. The placing of a contract or lease onto the Debtors’ Schedules
      shall not be deemed an admission that such contract is an executory contract


                                   6
                   or unexpired lease, or that it is necessarily a binding, valid and enforceable
                   contract. The Debtors hereby expressly reserve the right to assert that any
                   contract listed on the Debtors’ Schedules does not constitute an executory
                   contract within the meaning of section 365 of the Bankruptcy Code.

             (i)   Exclusion of certain intellectual property shall not be construed as an
                   admission that such intellectual property rights have been abandoned,
                   terminated, assigned, expired by their terms, or otherwise transferred
                   pursuant to a sale, acquisition, or other transaction.

6.     Excluded Assets and Liabilities. The Debtors have excluded rejection damage claims
of counterparties to executory contracts and unexpired leases that may or may not be rejected,
to the extent such damage claims exist. In addition, certain immaterial assets and liabilities
may have been excluded.

7.      Insiders. For purposes of the Schedules and Statements, the Debtors defined “insiders”
pursuant to section 101(31) of the Bankruptcy Code as: (a) directors; (b) officers; (c) persons in
control of the Debtors; (d) relatives of the Debtors’ directors, officers, or persons in control of
the Debtors; and (e) debtor/non-debtor affiliates of the foregoing. Persons listed as “insiders”
have been included for informational purposes only and by including them in the Schedules,
shall not constitute an admission that those persons are insiders for purposes of section 101(31)
of the Bankruptcy Code. Moreover, the Debtors do not take any position with respect to: (a)
any insider’s influence over the control of the Debtors; (b) the management responsibilities or
functions of any such insider; (c) the decision making or corporate authority of any such
insider; or (d) whether the Debtors or any such insider could successfully argue that he or she is
not an “insider” under applicable law or with respect to any theories of liability or for any other
purpose.

8.      Summary of Significant Reporting Policies. The following is a summary of
significant reporting policies:

             (a)   Undetermined Amounts. The description of an amount as “unknown,”
                   “TBD,” or “undetermined” is not intended to reflect upon the materiality of
                   such amount.

             (b)   Totals. All totals that are included in the Schedules and Statements represent
                   totals of all known amounts. To the extent there are unknown or
                   undetermined amounts, the actual total may be different than the listed total.




                                                 7
             (c)   Liens. Property and equipment listed in the Schedules and Statements are
                   presented without consideration of any liens that may attach (or have
                   attached) to such property and equipment.

9.     Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

10.     Confidential Information. In order to maintain the privacy of their employees and
customers, the Debtors have deemed it necessary and appropriate to redact address information
for individuals for purposes of public filings. Unredacted versions of the document have been
made available to the Bankruptcy Court and the United States Trustee.

11.    Global Notes Control. In the event that the Schedules and Statements differ from these
Global Notes, the Global Notes shall control.



Specific Disclosures with Respect to the Debtors’ Schedules

Schedule A/B.3. The bank account balances listed are as of the Petition Date.

Schedule A/B. 6-9. In the books and records of the Debtors, deposits and prepaids are included
in one trial balance amount. Specific detail regarding counterparties has been identified where
available. Due to the consolidation of the Debtors’ financial records, all items have been listed
as assets of Debtor Legendary Field Exhibitions, LLC (“LFE”). Amounts presented are as of
the date of the Debtors’ most recently completed financial statements. However, given the
timing difference between the financial statements and the Petition Date, it is likely that many
of the prepaid assets and security deposits have been utilized or otherwise applied against
outstanding payables and therefore values provided herein may be overstated.

Schedule A/B.11. Accounts receivable are presented based on book value as of April 9, 2019.
Such accounts receivable have not been adjusted to reflect any counterclaims or set-offs that
customers may assert based on breach of contract or other disputes.

Schedule A/B.39 - 41. A full detailed listing of the Debtors’ furniture, fixtures and equipment
owned by the Debtors as of the Petition Date was not available at the time the Schedules were
prepared. A listing of those assets that were listed on the Debtors’ books and records as of the
date that the last financial statements were prepared has been provided as an exhibit for Debtor
LFE. As of the Petition Date, certain items may have been in transit from other corporate
locations to the central storage facility located in San Antonio, TX.



                                                8
Schedule A/B.50. A detailed listing of the Debtors’ video production and other equipment was
not available at the time that the Schedules were prepared. As of the Petition Date, certain items
may have been in transit from other corporate locations to the central storage facility located in
San Antonio, TX.

Schedule A/B.60 - 64. The Debtors have used reasonable efforts to report trademarks, patents
and intellectual property that are assets of the Debtors. However, much of the information
surrounding the Debtors’ intellectual property resides with Morgan Lewis & Bockius LLP
(“Morgan Lewis”), the Debtors’ former legal advisor. This information has been requested
from Morgan Lewis, but had not been received as of the date that the Schedules and Statements
were prepared. Further, without this information it is unclear as to ownership of trademarks
and certain other IP between ESMG, LFE and AAF Properties, LLC. As such, out of an
abundance of caution these assets have been listed for each of the Debtors. Licensing
agreements have been reflected on the Debtors’ Schedule G, and not presented separately on
Schedule A/B as reasonable estimates of value are not available.

Schedule D. The descriptions provided on Schedule D are intended only as a summary.
Reference to the applicable loan agreements and related documents is necessary for a complete
description of the collateral and the nature, extent and priority of any liens. Nothing in these
Global Notes or in the Schedules and Statements shall be deemed a modification or
interpretation of the terms of such agreements or related documents.

Schedule E/F. The Debtors have listed all known taxing authorities for each Debtor. These tax
claims are, or may in the future be subject to audits, and the Debtors are unable to determine with
certainty the amount of the tax claims listed on Schedule E/F. In addition, there may be other
contingent, unliquidated claims from state and local taxing authorities, not all of which are listed.

The claims of individual creditors for, among other things, goods, products, services, or taxes are
listed as the amounts entered on the Debtors’ books and records and may not reflect credits,
allowances, or other adjustments due from such creditors to the Debtors. Amounts presented
herein are based on the Debtors’ best efforts to determine amounts owed to creditors as of the
Petition Date. Amounts owed to vendors for certain goods in transit which have not yet been
received at the Debtors’ facilities, or for services provided where invoices have not been
received, may be understated due to lack of sufficient information. Further, a substantial portion
of the Debtors business was transacted through vendors directly charging the Debtors’ corporate
credit cards. Such amounts which may be owed are not included in the Debtors’ current
accounts payable reports.




                                                 9
Schedule G. The Debtors have used reasonable efforts to report all executory contracts of the
Debtors. However, much of the information surrounding the Debtors’ contracts resides with
Morgan Lewis. This information has been requested from Morgan Lewis, but had not been
received as of the date that the Schedules and Statements were prepared.

Although commercially reasonable efforts have been made to ensure the accuracy of Schedule
G regarding executory contracts and unexpired leases, the Debtors’ review is ongoing at the
time of the filing of the Schedules and Statements and inadvertent errors, omissions or
over-inclusion may have occurred in preparing Schedule G. Despite best efforts, in some
instances, the Debtors may not have been able to identify which Debtor entity is party to a
particular contract. Any such contracts have been listed in Schedule G for LFE. Contracts
reflected on Schedule G do not reflect the impact of any counterparty’s assertion of termination
due to breach of contract or cessation of operations. The Debtors hereby expressly reserve the
right to assert that any instrument listed on Schedule G is or is not an executory contract within
the meaning of section 365 of the Bankruptcy Code. The Debtors reserve all of their rights,
claims, and causes of action with respect to claims associated with any contract or agreement
listed on Schedule G, including their right to dispute or challenge the characterization or the
structure of any transaction, document, or instrument (including any intercompany agreement)
related to a creditor’s claim.

Certain of the contracts and agreements listed on Schedule G may consist of several parts,
including, purchase orders, amendments, restatements, waivers, letters, and other documents
that may not be listed on Schedule G or that may be listed as a single entry.

Certain of the contracts, agreements, and leases listed on Schedule G may have expired or may
have been modified, amended, or supplemented from time to time by various amendments,
restatements, waivers, estoppel certificates, letters, memoranda, and other documents,
instruments, and agreements that may not be listed therein despite the Debtors’ use of
reasonable efforts to identify such documents. Further, unless otherwise specified on Schedule
G, each executory contract or unexpired lease listed thereon shall include all exhibits,
schedules, riders, modifications, declarations, amendments, supplements, attachments,
restatements, or other agreements made directly or indirectly by any agreement, instrument, or
other document that in any manner affects such executory contract or unexpired lease, without
respect to whether such agreement, instrument, or other document is listed thereon. In some
cases, the same supplier or provider appears multiple times on Schedule G. This multiple listing
is intended to reflect distinct agreements between the applicable Debtor and such supplier or
provider.




                                                10
Schedule H. The Debtors may not have identified certain guarantees associated with the
Debtors’ executory contracts, unexpired leases, and other such agreements. The Debtors reserve
all of their rights to amend the Schedules to the extent that additional guarantees are identified or
any scheduled guarantees are discovered to have expired or be unenforceable. In the ordinary
course of their businesses, the Debtors may be involved in pending or threatened litigation.
These matters may involve multiple plaintiffs and defendants, some or all of whom may assert
cross-claims and counter-claims against other parties. Because all such claims are contingent,
disputed and/or unliquidated, such claims have not been set forth individually on Schedule H.
Litigation matters can be found on each Debtor’s Schedule F and Statement 7, as applicable.


Specific Disclosures with Respect to the Debtors’ Statements



Statement 3. In Statement 3, disbursements made on account of multiple invoices may be
reflected as a single payment. Transactions listed on Statement 3 have been derived from
certain reports generated from the Debtors’ banking and online bill payment systems that were
the best information available as of the date of this report. For several payment instances,
information relating to the payment party is generic and was unable to be identified to a specific
counterparty. Such payments have been listed with as much information as was available in the
banking reports. In certain instances, interbank transfers may have inadvertently been listed.

As previously described, the Debtors’ books and records are kept on a consolidated basis. The
only Debtor entities with bank accounts are ESMG and LFE. Payments, such as payroll, which
may have benefitted other Debtor entities were not tracked separately as intercompany
receivables/payables. As such, payments listed in Statement 3 have been listed only by the
payor entity.

Statement 4. Directors and officers listed as transferees in Statement 4 may be (i) directors or
officers of ESMG and another Debtor or non-Debtor affiliate. Any payments or other transfers
of property made within 1 year before the Petition Date to such directors and officers have only
been listed by LFE as the payor entity. Such payments have not been duplicated for each Debtor
entity a director or officer served or may have served. Statement 4 does not include payments
made to certain employee benefit providers in the ordinary course for the benefit of employee
insiders.

Statement 7. The Debtors have used reasonable efforts to report all legal actions, proceedings,
investigations, arbitrations, mediations, and audits by federal or state agencies in which the


                                                 11
Debtors were involved in any capacity within one year before the Petition Date. However, much
of the information surrounding the Debtors’ legal affairs resides with Morgan Lewis. This
information has been requested from Morgan Lewis, but had not been received as of the date that
the Schedules and Statements were prepared.

Statement 10. Amounts listed herein were for events that were reported and/or tracked for
insurance purposes. De minimis losses are not separately tracked by the Debtors and were not
included on Statement 10.

Statement 11. All disbursements listed in Statement 11 were initiated and disbursed by ESMG,
but were for the benefit of all Debtors. Such payments have been listed only at ESMG and not
duplicated across all Debtors.

Statement 20. As of the Petition Date, the Debtors’ furniture, fixtures, production and
operating equipment were either located in or being transported to the central storage location
in San Antonio, TX.

Statement 26d. Over the prior two years, the Debtors have provided their financial statements
to various parties, including potential lenders, investors, vendors, government entities and other
interested parties. No efforts were made to keep records of parties provided with this
information.

Statement 30. Any and all known disbursements to insiders of the Debtors, as defined above,
have been listed in the response to SOFA 4. The items listed under SOFA 30 incorporate by
reference any items listed under SOFA 4, and vice versa.




                                                12
 Fill in this information to identify the case:

                      AAF Players, LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                       Western
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                Texas
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                         N/A
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B.....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                               Unknown
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                   Unknown
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B.....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                  N/A
                                                                                                                                                                                                $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims(Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                  N/A
                                                                                                                                                                                                $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
                                                                                                                                                                                            +     7,000,000.00
                                                                                                                                                                                                $ ________________
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................




4.   Total liabilities...................................................................................................................................................................         7,000,000.00
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
  Fill in this information to identify the case:

              AAF Players, LLC
  Debtor name __________________________________________________________________

                                         Western
  United States Bankruptcy Court for the:_______________________             Texas
                                                                 District of ________
                                                                             (State)
  Case number (If known):     _________________________                                                                               Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
   3.1. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
   7.1. ________________________________________________________________________________________________________                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                    page 1
Debtor         AAF Players, LLC
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........ Î                $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........ Î                $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________    $_______________________
   16.2.________________________________________________________________________________                ______________________    $_______________________




17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 2
Debtor
                AAF Players, LLC
                _______________________________________________________                   Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last      Net book value of     Valuation method used        Current value of
                                                    physical inventory    debtor's interest     for current value            debtor’s interest
                                                                          (Where available)
19. Raw materials
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

20. Work in progress
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                          $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________


23. Total of Part 5                                                                                                         $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                 Net book value of     Valuation method used        Current value of debtor’s
                                                                          debtor's interest     for current value            interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________          $________________     ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________          $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________          $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________       $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                               page 3
Debtor         AAF Players, LLC
               _______________________________________________________                        Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________     ____________________       $______________________

40. Office fixtures

   ______________________________________________________________              $________________     ____________________       $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________     ____________________       $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 4
 Debtor         AAF Players, LLC
                _______________________________________________________                    Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________      ____________________       $______________________

   47.2___________________________________________________________          $________________      ____________________       $______________________

   47.3___________________________________________________________          $________________      ____________________       $______________________

   47.4___________________________________________________________          $________________      ____________________       $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________       ____________________       $______________________

   48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________       ____________________       $______________________

   49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
Debtor
                AAF Players, LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.

    55.1________________________________________            _________________     $_______________      ____________________        $_____________________

    55.2________________________________________            _________________     $_______________      ____________________        $_____________________

    55.3________________________________________            _________________     $_______________      ____________________        $_____________________

    55.4________________________________________            _________________     $_______________      ____________________        $_____________________

    55.5________________________________________            _________________     $_______________      ____________________        $_____________________

    55.6________________________________________            _________________     $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                    $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of     Valuation method             Current value of
                                                                                  debtor's interest     used for current value       debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
    ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                     $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 6
Debtor           AAF Players, LLC
                 _______________________________________________________                                        Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                                   Current value of
                                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                                     N/A
                                                                                    _______________     –    N/A
                                                                                                            __________________________         =Î    N/A
     N/A
    ______________________________________________________                                                                                          $_____________________
                                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)
    N/A
    _________________________________________________________________________________                                               N/A
                                                                                                                          Tax year ___________       N/A
                                                                                                                                                    $_____________________
     N/A
    _________________________________________________________________________________                                               N/A
                                                                                                                          Tax year ___________       N/A
     N/A                                                                                                                                            $_____________________
    _________________________________________________________________________________                                               N/A
                                                                                                                          Tax year ___________       N/A
                                                                                                                                                    $_____________________

73. Interests in insurance policies or annuities
     See Schedule A/B: Part 11, Question 73 - Interests in Insurance policies or annuities
    ______________________________________________________________                                                                                   Unknown
                                                                                                                                                    $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    N/A
    ______________________________________________________________                                                                                   N/A
                                                                                                                                                    $_______________________
    Nature of claim                       N/A
                                         ___________________________________

    Amount requested                      N/A
                                         $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    N/A
    ______________________________________________________________                                                                                   N/A
                                                                                                                                                    $_______________________

    Nature of claim                       N/A
                                         ___________________________________

    Amount requested                      N/A
                                         $________________

76. Trusts, equitable or future interests in property
    N/A
    ______________________________________________________________                                                                                     N/A
                                                                                                                                                     $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   Player Contracts in Schedule G
   ____________________________________________________________                                                                                       Unknown
                                                                                                                                                    $_____________________
   N/A
   ____________________________________________________________                                                                                       N/A
                                                                                                                                                    $_____________________

78. Total of Part 11.
                                                                                                                                                     Unknown
                                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         No
         Yes

Official Form 206A/B                                                    Schedule A/B: Assets  Real and Personal Property                                       page 7
Debtor
                   AAF Players, LLC
                  _______________________________________________________                                                 Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property
                                                                                                          0.00
                                                                                                         $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.

                                                                                                          0.00
                                                                                                         $_______________
81. Deposits and prepayments. Copy line 9, Part 2.

                                                                                                          0.00
                                                                                                         $_______________
82. Accounts receivable. Copy line 12, Part 3.

                                                                                                          0.00
                                                                                                         $_______________
83. Investments. Copy line 17, Part 4.
                                                                                                          0.00
                                                                                                         $_______________
84. Inventory. Copy line 23, Part 5.
                                                                                                          0.00
                                                                                                         $_______________
85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.                                          0.00
                                                                                                         $_______________
     Copy line 43, Part 7.
                                                                                                          0.00
                                                                                                         $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

                                                                                                                                                 0.00
                                                                                                                                                $________________
88. Real property. Copy line 56, Part 9. . ..................................................................................... Î
                                                                                                          0.00
                                                                                                         $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                                        +     Unknown
                                                                                                         $_______________

                                                                                                          0.00                                    0.00
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            +   91b.
                                                                                                                                                $________________




                                                                                          Unknown
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................
                                                                                                                                                                     Unknown
                                                                                                                                                                    $__________________




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                                page 8
                                       In re AAF Players LLC

                                             Case No.

        Schedule A/B: Part 11: Question 73 – Interests in insurance policies or annuities

                                                                    Current Value of Debtor's
Debtor Name                        Description                               Interest
AAF Players
LLC            Workers' Compensation - TX                                    Unknown
AAF Players
LLC            Workers Compensation - AL/AZ/GA/TN                            Unknown
AAF Players
LLC            Workers Compensation - UT                                     Unknown
AAF Players
LLC            Commercial Property                                           Unknown
AAF Players
LLC            Inland Marine                                                 Unknown
AAF Players
LLC            General Liability Incl. Hired & Non-Owned Auto                Unknown
AAF Players
LLC            Primary Excess Liability - $10m xs Primary                    Unknown
AAF Players
LLC            Excess Liability - 1st Layer - $15M xs $10M                   Unknown
AAF Players
LLC            Excess Liability - 2nd Layer - $25M xs $25M                   Unknown
AAF Players
LLC            Participant Accident Coverage (Youth Camps)                   Unknown
AAF Players
LLC            Cyber Liability / Tech E&O - $5M                              Unknown
AAF Players    Non-Owned Aircraft /Unmanned Aircraft
LLC            Liability                                                     Unknown
AAF Players
LLC            Directors & Officers - $1M xs $1M                             Unknown
AAF Players
LLC            Directors & Officers - $3M xs $2M                             Unknown
AAF Players
LLC            Employment Practices - $1M                                    Unknown
AAF Players
LLC            Excess Employment Practices - $1M xs $1M                      Unknown
AAF Players
LLC            Fiduciary Liability - $1M                                     Unknown
AAF Players
LLC            Excess Fiduciary - $1M xs $1M                                 Unknown
AAF Players
LLC            Commercial Crime - $2M                                        Unknown
AAF Players
LLC            Allied Healthcare                                             Unknown
AAF Players
LLC            Workers' Compensation - CA                                    Unknown




                                                 1 of 1
  Fill in this information to identify the case:

                 AAF Players, LLC
  Debtor name __________________________________________________________________
                                          Western
  United States Bankruptcy Court for the: ______________________             Texas
                                                                 District of _________
                                                                                        (State)

  Case number (If known):      _________________________
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________

     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                 $________________
    Page, if any.

                                                                                                                                                                     1
   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of ___
   Fill in this information to identify the case:

   Debtor            AAF Players, LLC
                    __________________________________________________________________

   United States Bankruptcy Court for the: ______________________
                                           Western                District of __________
                                                                              Texas
                                                                                              (State)
   Case number       ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
        Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
                                                                                                                                                                  1
  Debtor        AAF Players, LLC
               _______________________________________________________                               Case number (if known)_____________________________________
               Name


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                        Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                                        $7,000,000.00
                                                                                                                                      $________________________________
     MGM Resorts International Operations, Inc.
    ____________________________________________________________
                                                                           Check all that apply.
                                                                              Contingent
     ATTN: Scott Butera, President Interactive Gaming             Unliquidated
    ____________________________________________________________              Disputed
    3600 Las Vegas Blvd. South,Las Vegas, NV 89109
    ____________________________________________________________                                   Notes Payable (Deficiency Claim)
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___             
                                                                           ■   Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:                Unknown
                                                                                                                                      $________________________________
     Colton Schmidt
    ____________________________________________________________
                                                                           Check all that apply.
                                                                              Contingent
                                                                              Unliquidated
     516 Red River Dr.,
    ____________________________________________________________  Disputed
    Paso Robles, CA 93446
    ____________________________________________________________
                                                                                                Litigation
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                                      $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                                      $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                                      $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                                      $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __     1
                                                                                                                                                                  1 of ___
 Debtor
                AAF Players, LLC
               _______________________________________________________             Case number (if known)_____________________________________
               Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                           Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                             0.00
                                                                                                           $_____________________________




5b. Total claims from Part 2                                                                  5b.    +
                                                                                                             7,000,000.00
                                                                                                           $_____________________________




5c. Total of Parts 1 and 2
                                                                                              5c.
                                                                                                             7,000,000.00
                                                                                                           $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                           1 of ___
                                                                                                                                    page __     1
 Fill in this information to identify the case:

              AAF Players, LLC
 Debtor name __________________________________________________________________

                                        Western
 United States Bankruptcy Court for the:______________________ District of     Texas
                                                                               _______
                                                                              (State)
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or       See attached Schedule G
                                          ____________________________________             _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of ___
                                                                                                                                                          1
                                                             In re AAF Players LLC
                                                                    Case No.
                                              Schedule G: Executory Contracts and Unexpired Leases

          Debtor Name           Contract Counterparty                   Address             Description of Contract or  Date of    Remaining    List
                                                                                          Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                     Interest            Lease               Number of
                                                                                                                                                Any
                                                                                                                                             Governme
                                                                                                                                                 nt
                                                                                                                                              Contract
AAF Players LLC         Adams, Tony                          Address on file              Player Contract


AAF Players LLC         Adeoye, Aaron                        Address on file              Player Contract


AAF Players LLC         Adjei-Barimah, Jude                  Address on file              Player Contract


AAF Players LLC         Allen, Austin                        Address on file              Player Contract


AAF Players LLC         Allen, Josh N.                       Address on file              Player Contract


AAF Players LLC         Allen, Ty M.                         Address on file              Player Contract


AAF Players LLC         Amos, Anthony                        Address on file              Player Contract


AAF Players LLC         Anau, Siupeli                        Address on file              Player Contract


AAF Players LLC         Anderson, Dres                       Address on file              Player Contract


AAF Players LLC         Anderson, Kevin B.                   Address on file              Player Contract


AAF Players LLC         Anderson, Rory                       Address on file              Player Contract


AAF Players LLC         Ankrah, Andrew K.                    Address on file              Player Contract


AAF Players LLC         Anthem Inc                           21555 Oxnard Street          Healthcare Plan
                                                             11th Floor,
                                                             Woodland Hills, CA 91367
AAF Players LLC         Appleby, Austin M.                   Address on file              Player Contract


AAF Players LLC         Ash, Richard                         Address on file              Player Contract


AAF Players LLC         Asiata, Matthew R.                   Address on file              Player Contract




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          Debtor Name            Contract Counterparty                   Address             Description of Contract or  Date of    Remaining    List
                                                                                           Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                      Interest            Lease               Number of
                                                                                                                                                 Any
                                                                                                                                              Governme
                                                                                                                                                  nt
                                                                                                                                               Contract
AAF Players LLC         Ayers, De'Marcus A.                   Address on file              Player Contract


AAF Players LLC         Badie, Sherman                        Address on file              Player Contract


AAF Players LLC         Balderree, Tanner G.                  Address on file              Player Contract


AAF Players LLC         Balducci, Alex                        Address on file              Player Contract


AAF Players LLC         Banderas, Joshua T.                   Address on file              Player Contract


AAF Players LLC         Banks, Josh E.                        Address on file              Player Contract


AAF Players LLC         Barnes, Brandon L.                    Address on file              Player Contract


AAF Players LLC         Barnes, Deion                         Address on file              Player Contract


AAF Players LLC         Barnes, Tavaris                       Address on file              Player Contract


AAF Players LLC         Barnes, Terence                       Address on file              Player Contract


AAF Players LLC         Barrett, Alex                         Address on file              Player Contract


AAF Players LLC         Bass, Khalil J.                       Address on file              Player Contract


AAF Players LLC         Baugh, Marcus                         Address on file              Player Contract


AAF Players LLC         Bausby, DeVante M.                    Address on file              Player Contract


AAF Players LLC         Beacham, Darwin                       Address on file              Player Contract


AAF Players LLC         Beacham, Sterling-Michael             Address on file              Player Contract




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          Debtor Name            Contract Counterparty                     Address             Description of Contract or  Date of    Remaining    List
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                                                                                                                                                 Contract
AAF Players LLC         Beauharnais, Steven                     Address on file              Player Contract


AAF Players LLC         Bell, Kenny                             Address on file              Player Contract


AAF Players LLC         Bennett, Jake                           Address on file              Player Contract


AAF Players LLC         Bercovici, Mike                         Address on file              Player Contract


AAF Players LLC         Bertolet, Taylor J.                     Address on file              Player Contract


AAF Players LLC         Bishop, Freddie                         Address on file              Player Contract


AAF Players LLC         Bonds, Terrell A.                       Address on file              Player Contract


AAF Players LLC         Bouagnon, Joel-Alexandre B.             Address on file              Player Contract


AAF Players LLC         Bouldin, Daronte                        Address on file              Player Contract


AAF Players LLC         Bower, Jeffrey                          Address on file              Player Contract


AAF Players LLC         Bowman, Braedon D.                      Address on file              Player Contract


AAF Players LLC         Boyko, Brett W.                         Address on file              Player Contract


AAF Players LLC         Bradford, Carl T.                       Address on file              Player Contract


AAF Players LLC         Brady, Latarius D.                      Address on file              Player Contract


AAF Players LLC         Brooks, Rond’trique S.                  Address on file              Player Contract


AAF Players LLC         Brown, Beniquez J.                      Address on file              Player Contract




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          Debtor Name            Contract Counterparty                   Address             Description of Contract or  Date of    Remaining    List
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                                                                                                      Interest            Lease               Number of
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                                                                                                                                               Contract
AAF Players LLC         Brown, Brian                          Address on file              Player Contract


AAF Players LLC         Brown, Cody L.                        Address on file              Player Contract


AAF Players LLC         Brown, Donatello D.                   Address on file              Player Contract


AAF Players LLC         Brown, Leon                           Address on file              Player Contract


AAF Players LLC         Brunskill, Daniel Z.                  Address on file              Player Contract


AAF Players LLC         Bunche, Malcolm J.                    Address on file              Player Contract


AAF Players LLC         Bundy, Marquis J.                     Address on file              Player Contract


AAF Players LLC         Burden, Freddie                       Address on file              Player Contract


AAF Players LLC         Burnett, Kaelin B.                    Address on file              Player Contract


AAF Players LLC         Burse, Isaiah                         Address on file              Player Contract


AAF Players LLC         Burton, Pierce                        Address on file              Player Contract


AAF Players LLC         Byrd, Dontez C.                       Address on file              Player Contract


AAF Players LLC         Callender, Nick J.                    Address on file              Player Contract


AAF Players LLC         Campbell, Elijah K.                   Address on file              Player Contract


AAF Players LLC         Canady, Bryce J.                      Address on file              Player Contract


AAF Players LLC         Capers Jr, Wayne E.                   Address on file              Player Contract




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                                               Schedule G: Executory Contracts and Unexpired Leases

          Debtor Name           Contract Counterparty                    Address             Description of Contract or  Date of    Remaining    List
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                                                                                                                                               Contract
AAF Players LLC         Carew, Tanner J.                      Address on file              Player Contract


AAF Players LLC         Carlisle, Amir                        Address on file              Player Contract


AAF Players LLC         Carrezola, Luke                       Address on file              Player Contract


AAF Players LLC         Christian, Gerald                     Address on file              Player Contract


AAF Players LLC         Clark, Deondre D.                     Address on file              Player Contract


AAF Players LLC         Clay, Kaelin                          Address on file              Player Contract


AAF Players LLC         Clear, Cam                            Address on file              Player Contract


AAF Players LLC         Cobb, David                           Address on file              Player Contract


AAF Players LLC         Coleman, Xavier                       Address on file              Player Contract


AAF Players LLC         Collins, Parker                       Address on file              Player Contract


AAF Players LLC         Cook, Jonathan B.                     Address on file              Player Contract


AAF Players LLC         Cook, Tim T.                          Address on file              Player Contract


AAF Players LLC         Coprich, Marshaun A.                  Address on file              Player Contract


AAF Players LLC         Corbin, Will                          Address on file              Player Contract


AAF Players LLC         Cotton-Moya, Kamari                   Address on file              Player Contract


AAF Players LLC         Couplin, Jerome                       Address on file              Player Contract




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          Debtor Name           Contract Counterparty                          Address             Description of Contract or  Date of    Remaining    List
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                                                                                                                                                     Contract
AAF Players LLC         Craig, Winston                              Address on file              Player Contract


AAF Players LLC         Crawford, Corey                             Address on file              Player Contract


AAF Players LLC         Crockett, James M.                          Address on file              Player Contract


AAF Players LLC         Cummings, Ryan C.                           Address on file              Player Contract


AAF Players LLC         Cutrer, Jeremy T.                           Address on file              Player Contract


AAF Players LLC         Daly, Kevin S.                              Address on file              Player Contract


AAF Players LLC         Daniels, BJ E.                              Address on file              Player Contract


AAF Players LLC         Dargan, Erick A.                            Address on file              Player Contract


AAF Players LLC         Davis, Austin                               Address on file              Player Contract


AAF Players LLC         Davis, Christopher L.                       Address on file              Player Contract


AAF Players LLC         Davis, Connor                               Address on file              Player Contract


AAF Players LLC         Davis, Ryan B.                              Address on file              Player Contract


AAF Players LLC         Davis, Will                                 Address on file              Player Contract


AAF Players LLC         Dean, David R.                              Address on file              Player Contract


AAF Players LLC         DeBoer, Dillon M.                           Address on file              Player Contract


AAF Players LLC         Delta Dental of California                  11155 International Drive    Dental Benefit Plan
                                                                    MS A1N,
                                                                    Rancho Cordova, CA 95670




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          Debtor Name            Contract Counterparty                   Address             Description of Contract or  Date of    Remaining    List
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                                                                                                                                               Contract
AAF Players LLC         Denham, Anthony d.                    Address on file              Player Contract


AAF Players LLC         Diarse, John                          Address on file              Player Contract


AAF Players LLC         Dickson, Xzavier                      Address on file              Player Contract


AAF Players LLC         DiSalvo, Ryan A.                      Address on file              Player Contract


AAF Players LLC         Dixon, Travell j.                     Address on file              Player Contract


AAF Players LLC         Dolan, Ben                            Address on file              Player Contract


AAF Players LLC         Donahue, Dylan M.                     Address on file              Player Contract


AAF Players LLC         Dooley, Nicholas                      Address on file              Player Contract


AAF Players LLC         Downey, Da'Sean                       Address on file              Player Contract


AAF Players LLC         Drummond, Kurtis                      Address on file              Player Contract


AAF Players LLC         Duarte, Thomas                        Address on file              Player Contract


AAF Players LLC         Duckworth, Aaron A.                   Address on file              Player Contract


AAF Players LLC         Ducre, Gregory                        Address on file              Player Contract


AAF Players LLC         Dunker, Jessamen T.                   Address on file              Player Contract


AAF Players LLC         Dunn, Michael A.                      Address on file              Player Contract


AAF Players LLC         Dutra, Chase M.                       Address on file              Player Contract




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          Debtor Name            Contract Counterparty                   Address             Description of Contract or  Date of    Remaining    List
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                                                                                                                                               Contract
AAF Players LLC         Dye, Donteea                          Address on file              Player Contract


AAF Players LLC         Eatmon, Quinterrius                   Address on file              Player Contract


AAF Players LLC         Edwards, Allen M.                     Address on file              Player Contract


AAF Players LLC         Edwards, SaQwan R.                    Address on file              Player Contract


AAF Players LLC         Elliott, Jayrone                      Address on file              Player Contract


AAF Players LLC         Escobar, Gavin                        Address on file              Player Contract


AAF Players LLC         Etta-Tawo, Amba                       Address on file              Player Contract


AAF Players LLC         Evans, Aaron                          Address on file              Player Contract


AAF Players LLC         Evans, Ciante                         Address on file              Player Contract


AAF Players LLC         Evans, Joshua N.                      Address on file              Player Contract


AAF Players LLC         Ezechukwu, Danny I.                   Address on file              Player Contract


AAF Players LLC         Fabuluje, Olutayo T.                  Address on file              Player Contract


AAF Players LLC         Farris, Chase A.                      Address on file              Player Contract


AAF Players LLC         Farrow, Kenneth                       Address on file              Player Contract


AAF Players LLC         Faulk, Jeremy                         Address on file              Player Contract


AAF Players LLC         Feeney, Travis                        Address on file              Player Contract




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          Debtor Name             Contract Counterparty                   Address             Description of Contract or  Date of    Remaining    List
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                                                                                                                                                   nt
                                                                                                                                                Contract
AAF Players LLC         Felton, DeVozea                        Address on file              Player Contract


AAF Players LLC         Fields, Shay D.                        Address on file              Player Contract


AAF Players LLC         Fisher, James                          Address on file              Player Contract


AAF Players LLC         Folk, Nick                             Address on file              Player Contract


AAF Players LLC         Folkerts, Brian M.                     Address on file              Player Contract


AAF Players LLC         Folston, Tarean                        Address on file              Player Contract


AAF Players LLC         Ford, Dontez                           Address on file              Player Contract


AAF Players LLC         Frazier, Ljoshua M.                    Address on file              Player Contract


AAF Players LLC         Freeman, KeShun                        Address on file              Player Contract


AAF Players LLC         French, Christian L.                   Address on file              Player Contract


AAF Players LLC         Frost, Kris                            Address on file              Player Contract


AAF Players LLC         Fry, Elliott                           Address on file              Player Contract


AAF Players LLC         Gardner, Ja'Quan O.                    Address on file              Player Contract


AAF Players LLC         Gardner, Timothy J.                    Address on file              Player Contract


AAF Players LLC         Garvin, Terence D.                     Address on file              Player Contract


AAF Players LLC         Gates, DeMarquis                       Address on file              Player Contract




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          Debtor Name            Contract Counterparty                       Address             Description of Contract or  Date of    Remaining    List
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                                                                                                                                                   Contract
AAF Players LLC         Gause, Quentin J.                         Address on file              Player Contract


AAF Players LLC         Gennesy, Avery T.                         Address on file              Player Contract


AAF Players LLC         Gentry, Mason G.                          Address on file              Player Contract


AAF Players LLC         Gilbert, Garrett                          Address on file              Player Contract


AAF Players LLC         Gilmore, Greg                             Address on file              Player Contract


AAF Players LLC         Ginda, Frank M.                           Address on file              Player Contract


AAF Players LLC         Godin, Matthew                            Address on file              Player Contract


AAF Players LLC         Gonzalez, Christopher O.                  Address on file              Player Contract


AAF Players LLC         Gonzalez, LaQuvionte A.                   Address on file              Player Contract


AAF Players LLC         Graham, Larson R.                         Address on file              Player Contract


AAF Players LLC         Graham, Tyson                             Address on file              Player Contract


AAF Players LLC         Grant, Doran                              Address on file              Player Contract


AAF Players LLC         Green, Aaron C.                           Address on file              Player Contract


AAF Players LLC         Green, Ryan A.                            Address on file              Player Contract


AAF Players LLC         Greene, Brandon                           Address on file              Player Contract


AAF Players LLC         Greene, Darrell                           Address on file              Player Contract




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          Debtor Name           Contract Counterparty                        Address             Description of Contract or  Date of    Remaining    List
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                                                                                                                                                   Contract
AAF Players LLC         Guerad, Antonio L.                        Address on file              Player Contract


AAF Players LLC         Guerra, Fabian A.                         Address on file              Player Contract


AAF Players LLC         Gunter, LaDarius M.                       Address on file              Player Contract


AAF Players LLC         Gwacham, Obum                             Address on file              Player Contract


AAF Players LLC         Hackenberg, Christian B.                  Address on file              Player Contract


AAF Players LLC         Hageman, Donny                            Address on file              Player Contract


AAF Players LLC         Hagen, Jacob                              Address on file              Player Contract


AAF Players LLC         Hall, Rannell                             Address on file              Player Contract


AAF Players LLC         Hamilton, Darius L.                       Address on file              Player Contract


AAF Players LLC         Hamlett, Connor J.                        Address on file              Player Contract


AAF Players LLC         Hancock, Jill                             Address on file              Player Contract


AAF Players LLC         Hannemann, Micah                          Address on file              Player Contract


AAF Players LLC         Hassenauer, JC C.                         Address on file              Player Contract


AAF Players LLC         Hatley, Rickey                            Address on file              Player Contract


AAF Players LLC         Hawkins, Donald                           Address on file              Player Contract


AAF Players LLC         Heneghan, Jack                            Address on file              Player Contract




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          Debtor Name            Contract Counterparty                   Address             Description of Contract or  Date of    Remaining    List
                                                                                           Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                      Interest            Lease               Number of
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                                                                                                                                                  nt
                                                                                                                                               Contract
AAF Players LLC         Hill, Bronson                         Address on file              Player Contract


AAF Players LLC         Hill, Will N.                         Address on file              Player Contract


AAF Players LLC         Hillary, Darius M.                    Address on file              Player Contract


AAF Players LLC         Hilliard, Kenny                       Address on file              Player Contract


AAF Players LLC         Holland, Ben                          Address on file              Player Contract


AAF Players LLC         Holliman, Deion                       Address on file              Player Contract


AAF Players LLC         Hollis, Dwayne D.                     Address on file              Player Contract


AAF Players LLC         Holman, Justin P.                     Address on file              Player Contract


AAF Players LLC         Holmes, Tyrone A.                     Address on file              Player Contract


AAF Players LLC         Horn, Reece M.                        Address on file              Player Contract


AAF Players LLC         Horton, Justin                        Address on file              Player Contract


AAF Players LLC         Howard, Alton Q.                      Address on file              Player Contract


AAF Players LLC         Howard, Bug J.                        Address on file              Player Contract


AAF Players LLC         Hudson, Garrett T.                    Address on file              Player Contract


AAF Players LLC         Huff, Josh                            Address on file              Player Contract


AAF Players LLC         Hughes, Montori M.                    Address on file              Player Contract




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          Debtor Name            Contract Counterparty                   Address             Description of Contract or  Date of    Remaining    List
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                                                                                                                                               Contract
AAF Players LLC         Hunt, Akeem B.                        Address on file              Player Contract


AAF Players LLC         Hunt, Cole E.                         Address on file              Player Contract


AAF Players LLC         Hyman, Ish                            Address on file              Player Contract


AAF Players LLC         Ifedi, Martin                         Address on file              Player Contract


AAF Players LLC         Irwin-Hill, Sam                       Address on file              Player Contract


AAF Players LLC         Isaac, Ty J.                          Address on file              Player Contract


AAF Players LLC         Jackson, Andrew                       Address on file              Player Contract


AAF Players LLC         Jackson, Bijhon                       Address on file              Player Contract


AAF Players LLC         Jackson, Dominick                     Address on file              Player Contract


AAF Players LLC         Jackson, Tre J.                       Address on file              Player Contract


AAF Players LLC         James, Charles                        Address on file              Player Contract


AAF Players LLC         James, Kendall L.                     Address on file              Player Contract


AAF Players LLC         James, Paul                           Address on file              Player Contract


AAF Players LLC         Jennings, Adonis M.                   Address on file              Player Contract


AAF Players LLC         Jeter, Colin                          Address on file              Player Contract


AAF Players LLC         Johnson, Anthony                      Address on file              Player Contract




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          Debtor Name            Contract Counterparty                   Address              Description of Contract or  Date of    Remaining    List
                                                                                            Lease and Nature of Debtor's Contract or   Term     Contract
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                                                                                                                                                   nt
                                                                                                                                                Contract
AAF Players LLC         Johnson, Ben C.                       Address on file               Player Contract


AAF Players LLC         Johnson, Charles D.                   Address on file               Player Contract


AAF Players LLC         Johnson, D'Ernest T.                  Address on file               Player Contract


AAF Players LLC         Johnson, Jeremiah                     Address on file               Player Contract


AAF Players LLC         Johnson, Leon L.                      Address on file               Player Contract


AAF Players LLC         Johnson, Steven M.                    Address on file               Player Contract


AAF Players LLC         Johnson, Trey                         Address on file               Player Contract


AAF Players LLC         Jones, Bryce D.                       Address on file               Player Contract


AAF Players LLC         Jones, JT                             Address on file               Player Contract


AAF Players LLC         Jones, Malachi                        Address on file               Player Contract


AAF Players LLC         Jones, Seantavius L.                  Address on file               Player Contract


AAF Players LLC         Jones-Smith, Jaryd                    Address on file               Player Contract


AAF Players LLC         Judd, Jacob                           Address on file               Player Contract


AAF Players LLC         Jumper, Colton C.                     Address on file               Player Contract


AAF Players LLC         Kaiser                                1900 S. Norfolk St. Suite 290, Healthcare Plan
                                                              San Mateo, CA 94403

AAF Players LLC         Kanuch, Tuni P.                       Address on file               Player Contract




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          Debtor Name            Contract Counterparty                    Address             Description of Contract or  Date of    Remaining    List
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                                                                                                                                                Contract
AAF Players LLC         Kelly, Kameron R.                      Address on file              Player Contract


AAF Players LLC         Kirven, Korren N.                      Address on file              Player Contract


AAF Players LLC         Kling, John L.                         Address on file              Player Contract


AAF Players LLC         Knight, Trevor A.                      Address on file              Player Contract


AAF Players LLC         Koloamatangi, Mathew T.                Address on file              Player Contract


AAF Players LLC         Kolone, Jeremiah                       Address on file              Player Contract


AAF Players LLC         Koo, Younghoe                          Address on file              Player Contract


AAF Players LLC         Kough, Gerrad                          Address on file              Player Contract


AAF Players LLC         Lanning, Joel F.                       Address on file              Player Contract


AAF Players LLC         Larkin, Austin B.                      Address on file              Player Contract


AAF Players LLC         Lauderdale, Andrew J.                  Address on file              Player Contract


AAF Players LLC         Lauina, Fred N.                        Address on file              Player Contract


AAF Players LLC         Lawrence, Desmond                      Address on file              Player Contract


AAF Players LLC         Lee, Sam J.                            Address on file              Player Contract


AAF Players LLC         Leichtfuss, Drake                      Address on file              Player Contract


AAF Players LLC         Leslie, Darnell J.                     Address on file              Player Contract




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          Debtor Name               Contract Counterparty                     Address             Description of Contract or  Date of    Remaining    List
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                                                                                                                                                    Contract
AAF Players LLC         Leslie, Jordan                             Address on file              Player Contract


AAF Players LLC         Lewis, Kyle                                Address on file              Player Contract


AAF Players LLC         Lewis, Patrick                             Address on file              Player Contract


AAF Players LLC         Linehan, Matthew S.                        Address on file              Player Contract


AAF Players LLC         Locke, Jeff                                Address on file              Player Contract


AAF Players LLC         Lotulelei, John T.                         Address on file              Player Contract


AAF Players LLC         Lotulelei, Totauhelotu T.                  Address on file              Player Contract


AAF Players LLC         Luc, Jeff                                  Address on file              Player Contract


AAF Players LLC         Lucas, Marquis C.                          Address on file              Player Contract


AAF Players LLC         Lucien, Devin                              Address on file              Player Contract


AAF Players LLC         Lunsford, Izaah D.                         Address on file              Player Contract


AAF Players LLC         Mabry, Ashaad                              Address on file              Player Contract


AAF Players LLC         MacGinnis, Austin                          Address on file              Player Contract


AAF Players LLC         Machorro, Jared                            Address on file              Player Contract


AAF Players LLC         MaGee, Darryl                              Address on file              Player Contract


AAF Players LLC         Magee, Terrence T.                         Address on file              Player Contract




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          Debtor Name             Contract Counterparty                    Address             Description of Contract or  Date of    Remaining    List
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                                                                                                                                                   Any
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                                                                                                                                                 Contract
AAF Players LLC         Maiden, Brandon D.                      Address on file              Player Contract


AAF Players LLC         Mama, Damien                            Address on file              Player Contract


AAF Players LLC         Manziel, Johnny                         Address on file              Player Contract (as amended)


AAF Players LLC         Manzo-Lewis, Anthony M.                 Address on file              Player Contract


AAF Players LLC         Marshall, Jalin                         Address on file              Player Contract


AAF Players LLC         Martin, Andre D.                        Address on file              Player Contract


AAF Players LLC         Martin, Chris G.                        Address on file              Player Contract


AAF Players LLC         Martin, Jordan D.                       Address on file              Player Contract


AAF Players LLC         Martin, Justin X.                       Address on file              Player Contract


AAF Players LLC         Martini, Greer G.                       Address on file              Player Contract


AAF Players LLC         Martino, Freddie L.                     Address on file              Player Contract


AAF Players LLC         Massaquoi, Jonathan b.                  Address on file              Player Contract


AAF Players LLC         Mauger, Quincy D.                       Address on file              Player Contract


AAF Players LLC         Maxey, Johnny R.                        Address on file              Player Contract


AAF Players LLC         May, DJ                                 Address on file              Player Contract


AAF Players LLC         Mazza, Cole J.                          Address on file              Player Contract




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          Debtor Name            Contract Counterparty                     Address            Description of Contract or  Date of    Remaining    List
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                                                                                                                                                Contract
AAF Players LLC         Mbu, Joey                               Address on file             Player Contract


AAF Players LLC         McCants, Matt                           Address on file             Player Contract


AAF Players LLC         McCray, Jordan A.                       Address on file             Player Contract


AAF Players LLC         McDade Jr., Marcus C.                   Address on file             Player Contract


AAF Players LLC         McDonald, Andrew                        Address on file             Player Contract


AAF Players LLC         McDougle, Dexter                        Address on file             Player Contract


AAF Players LLC         McKay, Mekale L.                        Address on file             Player Contract


AAF Players LLC         Merritt, Carlos S.                      Address on file             Player Contract


AAF Players LLC         Mettenberger, Zachary R.                Address on file             Player Contract


AAF Players LLC         MGM Resorts International Operations,   6385 S. Rainbow Blvd        IP License and Escrow
                        Inc.                                    Ste 500,                    Agreement
                                                                Las Vegas, NV 89118

AAF Players LLC         Mikell, Curtis R.                       Address on file             Player Contract


AAF Players LLC         Miley, Arthur                           Address on file             Player Contract


AAF Players LLC         Mobley, Sam X.                          Address on file             Player Contract


AAF Players LLC         Moeller, Ryan D.                        Address on file             Player Contract


AAF Players LLC         Montelus, John                          Address on file             Player Contract


AAF Players LLC         Montgomery, Sam S.                      Address on file             Player Contract




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          Debtor Name           Contract Counterparty                    Address             Description of Contract or  Date of    Remaining    List
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                                                                                                      Interest            Lease               Number of
                                                                                                                                                 Any
                                                                                                                                              Governme
                                                                                                                                                  nt
                                                                                                                                               Contract
AAF Players LLC         Moog, Cordon                          Address on file              Player Contract


AAF Players LLC         Moore, Alonzo D.                      Address on file              Player Contract


AAF Players LLC         Moore, Damontre L.                    Address on file              Player Contract


AAF Players LLC         Moore, Rahim                          Address on file              Player Contract


AAF Players LLC         Moore, Sterling P.                    Address on file              Player Contract


AAF Players LLC         Morgan, Drew                          Address on file              Player Contract


AAF Players LLC         Morgan, Nyles                         Address on file              Player Contract


AAF Players LLC         Morris, Anthony M.                    Address on file              Player Contract


AAF Players LLC         Morris, Christian D.                  Address on file              Player Contract


AAF Players LLC         Morris, Darryl E.                     Address on file              Player Contract


AAF Players LLC         Moten, Anthony J.                     Address on file              Player Contract


AAF Players LLC         Moxley, Trae J.                       Address on file              Player Contract


AAF Players LLC         Muir, Blake                           Address on file              Player Contract


AAF Players LLC         Mullaney, Richard A.                  Address on file              Player Contract


AAF Players LLC         Murray, Aaron                         Address on file              Player Contract (as amended)


AAF Players LLC         Myers Jr., Mark A.                    Address on file              Player Contract




                                                                                           Page 19 of 31
                                                              In re AAF Players LLC
                                                                     Case No.
                                               Schedule G: Executory Contracts and Unexpired Leases

          Debtor Name            Contract Counterparty                   Address             Description of Contract or  Date of    Remaining    List
                                                                                           Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                      Interest            Lease               Number of
                                                                                                                                                 Any
                                                                                                                                              Governme
                                                                                                                                                  nt
                                                                                                                                               Contract
AAF Players LLC         Myers, Robert E.                      Address on file              Player Contract


AAF Players LLC         Nash, Myles L.                        Address on file              Player Contract


AAF Players LLC         Navarro, Ryan J.                      Address on file              Player Contract


AAF Players LLC         Nelson Jr., Robert                    Address on file              Player Contract


AAF Players LLC         Nelson, Philip R.                     Address on file              Player Contract


AAF Players LLC         Newberry, Gio                         Address on file              Player Contract


AAF Players LLC         Newby, Terrell                        Address on file              Player Contract


AAF Players LLC         Nizialek, Cameron                     Address on file              Player Contract


AAF Players LLC         Northrup, Reggie V.                   Address on file              Player Contract


AAF Players LLC         Novak, Nick R.                        Address on file              Player Contract


AAF Players LLC         Nunn, Beau G.                         Address on file              Player Contract


AAF Players LLC         O'Brien, Kitt P.                      Address on file              Player Contract


AAF Players LLC         Odom, Chris L.                        Address on file              Player Contract


AAF Players LLC         Ohnesorge, Jacob P.                   Address on file              Player Contract


AAF Players LLC         Okine, Earl J.                        Address on file              Player Contract


AAF Players LLC         Okoye, Lawrence                       Address on file              Player Contract




                                                                                           Page 20 of 31
                                                               In re AAF Players LLC
                                                                      Case No.
                                                Schedule G: Executory Contracts and Unexpired Leases

          Debtor Name           Contract Counterparty                     Address             Description of Contract or  Date of    Remaining    List
                                                                                            Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                       Interest            Lease               Number of
                                                                                                                                                  Any
                                                                                                                                               Governme
                                                                                                                                                   nt
                                                                                                                                                Contract
AAF Players LLC         Olatoye, Deji                          Address on file              Player Contract


AAF Players LLC         Oliver, Branden                        Address on file              Player Contract


AAF Players LLC         Olugbode, Kenneth                      Address on file              Player Contract


AAF Players LLC         Omoile, Oni O.                         Address on file              Player Contract


AAF Players LLC         Orndoff, Scott B.                      Address on file              Player Contract


AAF Players LLC         Orr, Leon                              Address on file              Player Contract


AAF Players LLC         Overbaugh, Jeffery R.                  Address on file              Player Contract


AAF Players LLC         Owusu, Francis                         Address on file              Player Contract


AAF Players LLC         Palepoi, Tenny                         Address on file              Player Contract


AAF Players LLC         Palmer, Tobais                         Address on file              Player Contract


AAF Players LLC         Papilion, Luke L.                      Address on file              Player Contract


AAF Players LLC         Parks, Terrance                        Address on file              Player Contract


AAF Players LLC         Patrick, Ronald                        Address on file              Player Contract


AAF Players LLC         Patton, Quinton                        Address on file              Player Contract


AAF Players LLC         Paul, Gionni                           Address on file              Player Contract


AAF Players LLC         Payne, Jake                            Address on file              Player Contract




                                                                                            Page 21 of 31
                                                               In re AAF Players LLC
                                                                      Case No.
                                                Schedule G: Executory Contracts and Unexpired Leases

          Debtor Name            Contract Counterparty                    Address             Description of Contract or  Date of    Remaining    List
                                                                                            Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                       Interest            Lease               Number of
                                                                                                                                                  Any
                                                                                                                                               Governme
                                                                                                                                                   nt
                                                                                                                                                Contract
AAF Players LLC         Perez, Luis F.                         Address on file              Player Contract


AAF Players LLC         Pertile, Brandon D.                    Address on file              Player Contract


AAF Players LLC         Philips, Ervin L.                      Address on file              Player Contract


AAF Players LLC         Pierson-El, De'Mornay                  Address on file              Player Contract


AAF Players LLC         Pinkins, Eric                          Address on file              Player Contract


AAF Players LLC         Pittman, Lawrence S.                   Address on file              Player Contract


AAF Players LLC         Poole jr., Terry M.                    Address on file              Player Contract


AAF Players LLC         Poutasi, Jeremiah                      Address on file              Player Contract


AAF Players LLC         Powell, Joe                            Address on file              Player Contract


AAF Players LLC         Powell, Johnathan                      Address on file              Player Contract


AAF Players LLC         Powell, Ronald                         Address on file              Player Contract


AAF Players LLC         Pressley, Jhurell                      Address on file              Player Contract


AAF Players LLC         Price, Darius J.                       Address on file              Player Contract


AAF Players LLC         Price, Keith D.                        Address on file              Player Contract


AAF Players LLC         Price, Sean D.                         Address on file              Player Contract


AAF Players LLC         Prince, Darius Q.                      Address on file              Player Contract




                                                                                            Page 22 of 31
                                                              In re AAF Players LLC
                                                                     Case No.
                                               Schedule G: Executory Contracts and Unexpired Leases

          Debtor Name            Contract Counterparty                   Address             Description of Contract or  Date of    Remaining    List
                                                                                           Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                      Interest            Lease               Number of
                                                                                                                                                 Any
                                                                                                                                              Governme
                                                                                                                                                  nt
                                                                                                                                               Contract
AAF Players LLC         Pugh, Jacob                           Address on file              Player Contract


AAF Players LLC         Pujals, Peter                         Address on file              Player Contract


AAF Players LLC         Purcell, Mike G.                      Address on file              Player Contract


AAF Players LLC         Quick, James L.                       Address on file              Player Contract


AAF Players LLC         Quinn, Willie                         Address on file              Player Contract


AAF Players LLC         Radcliff, Brandon                     Address on file              Player Contract


AAF Players LLC         Ragin III, Johnny                     Address on file              Player Contract


AAF Players LLC         Reaser, Keith L.                      Address on file              Player Contract


AAF Players LLC         Reden, Stehly                         Address on file              Player Contract


AAF Players LLC         Redfield, Floyd M.                    Address on file              Player Contract


AAF Players LLC         Reed, Trovon R.                       Address on file              Player Contract


AAF Players LLC         Rehkow, Austin D.                     Address on file              Player Contract


AAF Players LLC         Reilly, Trevor                        Address on file              Player Contract


AAF Players LLC         Reynolds, Ed R.                       Address on file              Player Contract


AAF Players LLC         Rhaney, Demetrius                     Address on file              Player Contract


AAF Players LLC         Richardson, Cyril                     Address on file              Player Contract




                                                                                           Page 23 of 31
                                                                  In re AAF Players LLC
                                                                         Case No.
                                                   Schedule G: Executory Contracts and Unexpired Leases

          Debtor Name            Contract Counterparty                       Address             Description of Contract or  Date of    Remaining    List
                                                                                               Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                          Interest            Lease               Number of
                                                                                                                                                     Any
                                                                                                                                                  Governme
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                                                                                                                                                   Contract
AAF Players LLC         Richardson, Shaquille N.                  Address on file              Player Contract


AAF Players LLC         Richardson, Trenton J.                    Address on file              Player Contract


AAF Players LLC         Riggs, Cody                               Address on file              Player Contract


AAF Players LLC         Robinson, Adrien                          Address on file              Player Contract


AAF Players LLC         Robinson, Cortez                          Address on file              Player Contract


AAF Players LLC         Robinson, Denard X.                       Address on file              Player Contract


AAF Players LLC         Robinson, Edmond K.                       Address on file              Player Contract


AAF Players LLC         Robinson, Gelen A.                        Address on file              Player Contract


AAF Players LLC         Robinson, Jamal                           Address on file              Player Contract


AAF Players LLC         Rodriguez, Evan J.                        Address on file              Player Contract


AAF Players LLC         Rose, Nick                                Address on file              Player Contract


AAF Players LLC         Ross, Alex A.                             Address on file              Player Contract


AAF Players LLC         Ross, Brandon C.                          Address on file              Player Contract


AAF Players LLC         Ross, Rashad                              Address on file              Player Contract


AAF Players LLC         Rotier, Scott                             Address on file              Player Contract


AAF Players LLC         Rotimi, Olubunmi                          Address on file              Player Contract




                                                                                               Page 24 of 31
                                                             In re AAF Players LLC
                                                                    Case No.
                                              Schedule G: Executory Contracts and Unexpired Leases

          Debtor Name           Contract Counterparty                   Address             Description of Contract or  Date of    Remaining    List
                                                                                          Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                     Interest            Lease               Number of
                                                                                                                                                Any
                                                                                                                                             Governme
                                                                                                                                                 nt
                                                                                                                                              Contract
AAF Players LLC         Rucker, Keith V.                     Address on file              Player Contract


AAF Players LLC         Salmon, Shaheed                      Address on file              Player Contract


AAF Players LLC         Sanchez, Zack                        Address on file              Player Contract


AAF Players LLC         Sankey, Bishop                       Address on file              Player Contract


AAF Players LLC         Saxton, Wes E.                       Address on file              Player Contract


AAF Players LLC         Sayles, Casey A.                     Address on file              Player Contract


AAF Players LLC         Schmidt, Colton A.                   Address on file              Player Contract


AAF Players LLC         Schult, Karter                       Address on file              Player Contract


AAF Players LLC         Schwab, Ty                           Address on file              Player Contract


AAF Players LLC         Sewall, Matthew                      Address on file              Player Contract


AAF Players LLC         Shepherd, JaCorey                    Address on file              Player Contract


AAF Players LLC         Sheppard, Gerrard                    Address on file              Player Contract


AAF Players LLC         Shippen, Brandon                     Address on file              Player Contract


AAF Players LLC         Shockley, Ed                         Address on file              Player Contract


AAF Players LLC         Siliga, Sealver                      Address on file              Player Contract


AAF Players LLC         Silvers, Brandon B.                  Address on file              Player Contract




                                                                                          Page 25 of 31
                                                                In re AAF Players LLC
                                                                       Case No.
                                                 Schedule G: Executory Contracts and Unexpired Leases

          Debtor Name           Contract Counterparty                      Address             Description of Contract or  Date of    Remaining    List
                                                                                             Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                        Interest            Lease               Number of
                                                                                                                                                   Any
                                                                                                                                                Governme
                                                                                                                                                    nt
                                                                                                                                                 Contract
AAF Players LLC         Simmons, Antonio                        Address on file              Player Contract


AAF Players LLC         Simms, Matthew W.                       Address on file              Player Contract


AAF Players LLC         Sims, Blake                             Address on file              Player Contract


AAF Players LLC         Smith, Charles                          Address on file              Player Contract


AAF Players LLC         Smith, De’Veon                          Address on file              Player Contract


AAF Players LLC         Smith, Derron                           Address on file              Player Contract


AAF Players LLC         Smith, Riley                            Address on file              Player Contract


AAF Players LLC         Soto, Shakir                            Address on file              Player Contract


AAF Players LLC         Soulek, Kellen W.                       Address on file              Player Contract


AAF Players LLC         Spain, Bentley                          Address on file              Player Contract


AAF Players LLC         Spearman, Ike                           Address on file              Player Contract


AAF Players LLC         Sprinkle, Tracy                         Address on file              Player Contract


AAF Players LLC         Spruce, Nelson                          Address on file              Player Contract


AAF Players LLC         Stacy, Zac L.                           Address on file              Player Contract


AAF Players LLC         Standberry, Charles X.                  Address on file              Player Contract


AAF Players LLC         Stelter, Andrew D.                      Address on file              Player Contract




                                                                                             Page 26 of 31
                                                                In re AAF Players LLC
                                                                       Case No.
                                                 Schedule G: Executory Contracts and Unexpired Leases

          Debtor Name           Contract Counterparty                      Address             Description of Contract or  Date of    Remaining    List
                                                                                             Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                        Interest            Lease               Number of
                                                                                                                                                   Any
                                                                                                                                                Governme
                                                                                                                                                    nt
                                                                                                                                                 Contract
AAF Players LLC         Sterns, Jordan J.                       Address on file              Player Contract


AAF Players LLC         Stewart, Josh J.                        Address on file              Player Contract


AAF Players LLC         Stewart, Orion                          Address on file              Player Contract


AAF Players LLC         Stockton, Justin                        Address on file              Player Contract


AAF Players LLC         Stribling, Channing M.                  Address on file              Player Contract


AAF Players LLC         Summers, Jamar                          Address on file              Player Contract


AAF Players LLC         Sutherland, Jake P.                     Address on file              Player Contract


AAF Players LLC         Sutton, William E.                      Address on file              Player Contract


AAF Players LLC         Swann, Damian R.                        Address on file              Player Contract


AAF Players LLC         Swanson, Terry                          Address on file              Player Contract


AAF Players LLC         Sylve, Bradley S.                       Address on file              Player Contract


AAF Players LLC         Tanielu, Handsome                       Address on file              Player Contract


AAF Players LLC         Tarpley, Arnold L.                      Address on file              Player Contract


AAF Players LLC         Tarpley, Aubrey                         Address on file              Player Contract


AAF Players LLC         Taylor, Colton A.                       Address on file              Player Contract


AAF Players LLC         Taylor, Devin                           Address on file              Player Contract




                                                                                             Page 27 of 31
                                                               In re AAF Players LLC
                                                                      Case No.
                                                Schedule G: Executory Contracts and Unexpired Leases

          Debtor Name           Contract Counterparty                     Address             Description of Contract or  Date of    Remaining    List
                                                                                            Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                       Interest            Lease               Number of
                                                                                                                                                  Any
                                                                                                                                               Governme
                                                                                                                                                   nt
                                                                                                                                                Contract
AAF Players LLC         Temple, Nicholas                       Address on file              Player Contract


AAF Players LLC         Teuhema, Maea M.                       Address on file              Player Contract


AAF Players LLC         Teuhema, Sione                         Address on file              Player Contract


AAF Players LLC         Thomas, Dallas                         Address on file              Player Contract


AAF Players LLC         Thomas, Jordan                         Address on file              Player Contract


AAF Players LLC         Thomas, Justin                         Address on file              Player Contract


AAF Players LLC         Thomas, Orlando                        Address on file              Player Contract


AAF Players LLC         Thompson, Christopher                  Address on file              Player Contract


AAF Players LLC         Thompson, Colin                        Address on file              Player Contract


AAF Players LLC         Thompson, Trenton C.                   Address on file              Player Contract


AAF Players LLC         Thornton, Hugh J.                      Address on file              Player Contract


AAF Players LLC         Tiller, Andrew                         Address on file              Player Contract


AAF Players LLC         Timu, John                             Address on file              Player Contract


AAF Players LLC         Tocho, Jack Z.                         Address on file              Player Contract


AAF Players LLC         Toliver, Henre P.                      Address on file              Player Contract


AAF Players LLC         Torgersen, Alek                        Address on file              Player Contract




                                                                                            Page 28 of 31
                                                                 In re AAF Players LLC
                                                                        Case No.
                                                  Schedule G: Executory Contracts and Unexpired Leases

          Debtor Name           Contract Counterparty                       Address             Description of Contract or  Date of    Remaining    List
                                                                                              Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                         Interest            Lease               Number of
                                                                                                                                                    Any
                                                                                                                                                 Governme
                                                                                                                                                     nt
                                                                                                                                                  Contract
AAF Players LLC         Towbridge, Keith B.                      Address on file              Player Contract


AAF Players LLC         Travis, Damarius D.                      Address on file              Player Contract


AAF Players LLC         Traylor, Austin D.                       Address on file              Player Contract


AAF Players LLC         Truesdell, Nicholas R.                   Address on file              Player Contract


AAF Players LLC         Tuley-Tillman, Logan L.                  Address on file              Player Contract


AAF Players LLC         Tull, Davis D.                           Address on file              Player Contract


AAF Players LLC         Tupou, Taniela T.                        Address on file              Player Contract


AAF Players LLC         Turk, Ben                                Address on file              Player Contract


AAF Players LLC         Tyms, Brian E.                           Address on file              Player Contract


AAF Players LLC         Uhatafe, Salesi S.                       Address on file              Player Contract


AAF Players LLC         Vaughan, Dustin R.                       Address on file              Player Contract


AAF Players LLC         Vereen, Corey                            Address on file              Player Contract


AAF Players LLC         Vision Service Plan - VSP                PO Box 45210                 Vision Service Plan
                                                                 San Francisco, CA
                                                                 95145-5210
AAF Players LLC         Wadley, Akrum                            Address on file              Player Contract


AAF Players LLC         Ward Jr., Greg                           Address on file              Player Contract


AAF Players LLC         Ward, Terron                             Address on file              Player Contract




                                                                                              Page 29 of 31
                                                                 In re AAF Players LLC
                                                                        Case No.
                                                  Schedule G: Executory Contracts and Unexpired Leases

          Debtor Name           Contract Counterparty                       Address             Description of Contract or  Date of    Remaining    List
                                                                                              Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                         Interest            Lease               Number of
                                                                                                                                                    Any
                                                                                                                                                 Governme
                                                                                                                                                     nt
                                                                                                                                                  Contract
AAF Players LLC         Warmsley, Julius A.                      Address on file              Player Contract


AAF Players LLC         Washington, L'Damian T.                  Address on file              Player Contract


AAF Players LLC         Washington, Shaan E.                     Address on file              Player Contract


AAF Players LLC         Watson - Martin, Terrell A.              Address on file              Player Contract


AAF Players LLC         Watts, Brandon                           Address on file              Player Contract


AAF Players LLC         weathersby, toby                         Address on file              Player Contract


AAF Players LLC         Weiser, Matt                             Address on file              Player Contract


AAF Players LLC         Weiss, Brant m.                          Address on file              Player Contract


AAF Players LLC         Wells, Matthew                           Address on file              Player Contract


AAF Players LLC         White, Marquez A.                        Address on file              Player Contract


AAF Players LLC         White, Ryan S.                           Address on file              Player Contract


AAF Players LLC         Wick, Robert                             Address on file              Player Contract


AAF Players LLC         Williams, Anthony                        Address on file              Player Contract


AAF Players LLC         Williams, Dan                            Address on file              Player Contract


AAF Players LLC         Williams, Isaiah                         Address on file              Player Contract


AAF Players LLC         Williams, Kieron O.                      Address on file              Player Contract




                                                                                              Page 30 of 31
                                                               In re AAF Players LLC
                                                                      Case No.
                                                Schedule G: Executory Contracts and Unexpired Leases

          Debtor Name           Contract Counterparty                     Address             Description of Contract or  Date of    Remaining    List
                                                                                            Lease and Nature of Debtor's Contract or   Term     Contract
                                                                                                       Interest            Lease               Number of
                                                                                                                                                  Any
                                                                                                                                               Governme
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                                                                                                                                                Contract
AAF Players LLC         Williams, Marquise J.                  Address on file              Player Contract




AAF Players LLC         Williams, Steve                        Address on file              Player Contract


AAF Players LLC         Williams, Trey A.                      Address on file              Player Contract


AAF Players LLC         Winslow, Ryan                          Address on file              Player Contract


AAF Players LLC         Winston, JaMichael G.                  Address on file              Player Contract


AAF Players LLC         Wolford, John T.                       Address on file              Player Contract


AAF Players LLC         Woodrum, Josh A.                       Address on file              Player Contract


AAF Players LLC         Woodside, Logan M.                     Address on file              Player Contract


AAF Players LLC         Worthy, Jerel                          Address on file              Player Contract


AAF Players LLC         Wright, Demetrius A.                   Address on file              Player Contract


AAF Players LLC         Wright, Scooby A.                      Address on file              Player Contract


AAF Players LLC         Wynn, Charles                          Address on file              Player Contract


AAF Players LLC         Yates, Rykeem                          Address on file              Player Contract


AAF Players LLC         Young, Avery                           Address on file              Player Contract


AAF Players LLC         Young, Lou J.                          Address on file              Player Contract


AAF Players LLC         Zema, Joseph A.                        Address on file              Player Contract




                                                                                            Page 31 of 31
 Fill in this information to identify the case:

              AAF Players, LLC
 Debtor name __________________________________________________________________

                                        Western
 United States Bankruptcy Court for the:_______________________             Texas
                                                                District of ________
                                                                                  (State)
 Case number (If known):            _________________________




                                                                                                                                                         Check if this is an
                                                                                                                                                           amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
           No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
           Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                                           Check all schedules
             Name                             Mailing address                                             Name
                                                                                                                                                           that apply:


 2.1
           Ebersol Sports Media Group, Inc.
         _____________________                 4525 Macro St.
                                              ________________________________________________________     MGM Resorts International Operations, Inc.
                                                                                                                                                            D                   
                                                                                                           _____________________
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G
                                               San Antonio             TX              78218
                                              ________________________________________________________
                                              City                    State             ZIP Code

                                                                                                                                                                                 
 2.2      AAF Properties, LLC                  4525 Macro St.
         _____________________                ________________________________________________________     MGM Resorts International Operations, Inc.
                                                                                                           _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G
                                               San Antonio             TX              78218
                                              ________________________________________________________
                                              City                    State             ZIP Code

                                                                                                                                                                                 
 2.3       Legendary Field Exhibitions, LLC    4525 Macro St.
         _____________________                ________________________________________________________     MGM Resorts International Operations, Inc.
                                                                                                           _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G
                                               San Antonio             TX              78218
                                              ________________________________________________________
                                              City                    State             ZIP Code
                                                                                                                                                                                 
 2.4
         _____________________                ________________________________________________________     _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G

                                              ________________________________________________________
                                              City                    State             ZIP Code
                                                                                                                                                                                 
 2.5
         _____________________                ________________________________________________________     _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G

                                              ________________________________________________________
                                              City                    State             ZIP Code
                                                                                                                                                                                 
 2.6
         _____________________                ________________________________________________________     _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G

                                              ________________________________________________________
                                              City                    State             ZIP Code




Official Form 206H                                                   Schedule H: Codebtors                                                                   page 1 of ___
                                                                                                                                                                         1
Fill in this information to identify the case:

            AAF Players, LLC
Debtor name __________________________________________________________________
                                        Western
United States Bankruptcy Court for the: ______________________             Texas
                                                               District of _________
                                                                              (State)
Case number (If known):   _________________________



                                                                                                                                       Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


   Part 1:        Income



   1. Gross revenue from business

      
      ✔    None

              Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
              may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                     exclusions)

             From the beginning of the                                                              Operating a business
             fiscal year to filing date:     From ___________         to     Filing date            Other _______________________    $________________
                                                    MM / DD / YYYY


             For prior year:                 From ___________         to     ___________            Operating a business
                                                                                                                                      $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                    Other _______________________

             For the year before that:       From ___________         to     ___________            Operating a business
                                                                                                                                      $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                    Other _______________________




   2. Non-business revenue
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
      from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      
      ✔    None

                                                                                                Description of sources of revenue    Gross revenue from each
                                                                                                                                     source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

             From the beginning of the
                                                                                                ___________________________          $________________
             fiscal year to filing date:     From ___________         to      Filing date
                                                    MM / DD / YYYY



             For prior year:                 From ___________         to      ___________
                                                    MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




             For the year before that:       From ___________         to      ___________
                                                    MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




 Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1
Debtor             AAF Players, LLC
                   _______________________________________________________                         Case number (if known)_____________________________________
                   Name




   Part 2:          List Certain Transfers Made Before Filing for Bankruptcy

   3. Certain payments or transfers to creditors within 90 days before filing this case
         List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
         days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
         adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         
         ✔      None

                 Creditor’s name and address                         Dates         Total amount or value         Reasons for payment or transfer
                                                                                                                 Check all that apply
         3.1.

                 __________________________________________         ________       $_________________                 Secured debt
                 Creditor’s name
                                                                                                                      Unsecured loan repayments
                 __________________________________________
                 Street                                             ________                                          Suppliers or vendors
                 __________________________________________                                                           Services
                 __________________________________________
                 City                          State    ZIP Code
                                                                    ________                                          Other _______________________________
                   
         3.2.

                 __________________________________________         ________       $_________________                 Secured debt
                 Creditor’s name
                                                                                                                      Unsecured loan repayments
                 __________________________________________
                 Street                                             ________                                          Suppliers or vendors
                 __________________________________________                                                           Services
                 __________________________________________
                 City                          State    ZIP Code
                                                                    ________                                          Other _______________________________


   4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
         List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
         guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
         $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
         Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
         general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
         the debtor. 11 U.S.C. § 101(31).

         
         ✔      None

                 Insider’s name and address                          Dates         Total amount or value         Reasons for payment or transfer
         4.1.

                 __________________________________________        _________      $__________________          ___________________________________________
                 Insider’s name
                 __________________________________________        _________                                   ___________________________________________
                 Street
                 __________________________________________        _________                                   ___________________________________________
                 __________________________________________
                 City                          State    ZIP Code


                 Relationship to debtor
                 __________________________________________


         4.2.

                 __________________________________________        _________      $__________________          ___________________________________________
                 Insider’s name
                 __________________________________________        _________                                   ___________________________________________
                 Street
                 __________________________________________        _________                                   ___________________________________________
                 __________________________________________
                 City                          State    ZIP Code



                 Relationship to debtor

                 __________________________________________



Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 2
Debtor             AAF Players, LLC
                   _______________________________________________________                                                    Case number (if known)_____________________________________
                   Name




   5. Repossessions, foreclosures, and returns
         List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
         sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         
         ✔      None
                Creditor’s name and address                                         Description of the property                                        Date               Value of property
         5.1.

                __________________________________________                          ___________________________________________                        ______________     $___________
                Creditor’s name
                __________________________________________                          ___________________________________________
                Street
                __________________________________________                          ___________________________________________
                __________________________________________
                City                               State            ZIP Code

         5.2.

                __________________________________________                          ___________________________________________                        _______________      $___________
                Creditor’s name
                __________________________________________                          ___________________________________________
                Street
                __________________________________________                          ___________________________________________
                __________________________________________
                City                               State            ZIP Code


   6. Setoffs
         List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
         the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         
         ✔      None
                 Creditor’s name and address                                           Description of the action creditor took                         Date action was       Amount
                                                                                                                                                       taken

                 __________________________________________                          ___________________________________________                     _______________      $___________
                 Creditor’s name
                 __________________________________________                          ___________________________________________
                 Street
                 __________________________________________
                 __________________________________________                          Last 4 digits of account number: XXXX– __ __ __ __
                 City                                State           ZIP Code


    Part 3:            Legal Actions or Assignments

   7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
         List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
         was involved in any capacity—within 1 year before filing this case.

               None
                 Case title                                             Nature of case                                  Court or agency’s name and address                 Status of case

         7.1.
                  Colton Schmidt et al vs. AAF Players LLC, et al
                 _________________________________
                                                                         Class Action - Employment, Fraud & Contract
                                                                        ______________________________                  San Francisco County Superior Court
                                                                                                                       __________________________________________          
                                                                                                                                                                           ✔   Pending
                                                                                                                       Name
                                                                                                                                                                              On appeal
                                                                                                                       __________________________________________
                 Case number                                                                                           Street                                                 Concluded
                                                                                                                       __________________________________________
                  CGC-19-575169
                 _________________________________                                                                     __________________________________________
                                                                                                                       City                  State             ZIP Code
                  

                 Case title                                                                                              Court or agency’s name and address
                                                                                                                                                                              Pending
         7.2.
                 _________________________________                      ______________________________                 __________________________________________             On appeal
                                                                                                                       Name
                                                                                                                       __________________________________________
                                                                                                                                                                              Concluded
                 Case number
                                                                                                                       Street
                                                                                                                       __________________________________________
                 _________________________________
                                                                                                                       __________________________________________
                                                                                                                       City                          State     ZIP Code


Official Form 207                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                               page 3
Debtor             AAF Players, LLC
                   _______________________________________________________                            Case number (if known)_____________________________________
                   Name




   8. Assignments and receivership
         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
         hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
         
         ✔      None
                  Custodian’s name and address                       Description of the property                        Value

                 __________________________________________          ______________________________________             $_____________
                 Custodian’s name
                                                                      Case title                                        Court name and address
                 __________________________________________
                 Street
                                                                     ______________________________________           __________________________________________
                 __________________________________________                                                           Name
                 __________________________________________           Case number                                     __________________________________________
                 City                          State     ZIP Code                                                     Street
                                                                     ______________________________________           __________________________________________
                                                                      Date of order or assignment                     __________________________________________
                                                                                                                      City                 State               ZIP Code

                                                                     ______________________________________

   Part 4:             Certain Gifts and Charitable Contributions

   9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
         of the gifts to that recipient is less than $1,000
         
         ✔      None
                 Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


         9.1.
                __________________________________________           ___________________________________________                 _________________   $__________
                Recipient’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State     ZIP Code


                  Recipient’s relationship to debtor
                  __________________________________________


                __________________________________________           ___________________________________________                 _________________   $__________
         9.2. Recipient’s name

                __________________________________________           ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State     ZIP Code

                  Recipient’s relationship to debtor
                  __________________________________________


   Part 5:             Certain Losses

   10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         
         ✔      None
                 Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
                 occurred                                            If you have received payments to cover the loss, for                            lost
                                                                     example, from insurance, government compensation, or
                                                                     tort liability, list the total received.
                                                                     List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                     Assets – Real and Personal Property).


                 ___________________________________________         ___________________________________________                 _________________   $__________
                 ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 4
Debtor          AAF Players, LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




   Part 6:       Certain Payments or Transfers

   11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
         the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
         seeking bankruptcy relief, or filing a bankruptcy case.

         
         ✔   None

              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value

              __________________________________________
     11.1.                                                        ___________________________________________
                                                                                                                           ______________       $_________
              Address
                                                                  ___________________________________________
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                        State      ZIP Code


              Email or website address
              _________________________________

              Who made the payment, if not debtor?


              __________________________________________


              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value


     11.2.    __________________________________________          ___________________________________________
                                                                                                                           ______________       $_________
              Address                                             ___________________________________________
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                        State      ZIP Code

              Email or website address
              __________________________________________

              Who made the payment, if not debtor?

              __________________________________________


   12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
         a self-settled trust or similar device.
         Do not include transfers already listed on this statement.

         
         ✔   None

              Name of trust or device                             Describe any property transferred                         Dates transfers     Total amount or
                                                                                                                            were made           value


              __________________________________________          ___________________________________________               ______________       $_________

              Trustee                                             ___________________________________________
              __________________________________________




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 5
Debtor          AAF Players, LLC
                _______________________________________________________                             Case number (if known)_____________________________________
                Name




   13. Transfers not already listed on this statement
         List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
         within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
         Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


         
         ✔   None

              Who received transfer?                                 Description of property transferred or payments received   Date transfer      Total amount or
                                                                     or debts paid in exchange                                  was made           value



     13.1.    __________________________________________             ___________________________________________                ________________    $_________

                                                                     ___________________________________________
              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________




              Who received transfer?
                                                                     ___________________________________________                ________________    $_________

     13.2.    __________________________________________             ___________________________________________

              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________



   Part 7:       Previous Locations

   14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         
         ✔   Does not apply
              Address                                                                                                Dates of occupancy


     14.1.     _______________________________________________________________________                               From       ____________       To   ____________
              Street
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


     14.2.     _______________________________________________________________________                               From       ____________       To   ____________
              Street
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 6
Debtor           AAF Players, LLC
                 _______________________________________________________                              Case number (if known)_____________________________________
                 Name




   Part 8:            Health Care Bankruptcies

   15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          diagnosing or treating injury, deformity, or disease, or
          providing any surgical, psychiatric, drug treatment, or obstetric care?

         
         ✔   No. Go to Part 9.
            Yes. Fill in the information below.
               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.1.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ____________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                               Electronically
                                                                                                                                              Paper

               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.2.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ___________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                               Electronically
                                                                                                                                              Paper

   Part 9:            Personally Identifiable Information

   16. Does the debtor collect and retain personally identifiable information of customers?

         
         ✔   No.
            Yes. State the nature of the information collected and retained. ___________________________________________________________________
                      Does the debtor have a privacy policy about that information?
                  
                   ✔     No
                         Yes
   17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
         pension or profit-sharing plan made available by the debtor as an employee benefit?

         
         ✔   No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?
                         No. Go to Part 10.
                         Yes. Fill in below:
                           Name of plan                                                                             Employer identification number of the plan

                           _______________________________________________________________________                  EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                          Has the plan been terminated?
                              No
                              Yes



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Debtor           AAF Players, LLC
                 _______________________________________________________                             Case number (if known)_____________________________________
                 Name




   Part 10:           Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

   18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
         moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

         
         ✔   None

               Financial institution name and address           Last 4 digits of account        Type of account             Date account was        Last balance
                                                                number                                                      closed, sold, moved,    before closing or
                                                                                                                            or transferred          transfer

     18.1.     ______________________________________           XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

     18.2.     ______________________________________           XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

   19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

         
         ✔   None

                 Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                          still have it?

               ______________________________________          __________________________________          __________________________________                 No
               Name
                                                               __________________________________          __________________________________
                                                                                                                                                              Yes
               ______________________________________
               Street                                          __________________________________          __________________________________             
               ______________________________________
               ______________________________________           Address                                                                                   
               City                  State        ZIP Code
                                                               ____________________________________
                                                               ____________________________________

  20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
         which the debtor does business.

            None

                 Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                          still have it?
                                                                                                                                                           
                                                                                                                                                           ✔ No
               EClinicalWorks
               ______________________________________           Dr Pat Kersey
                                                               __________________________________           Electronic player medical records
                                                                                                           __________________________________
               Name
                                                                                                                                                            Yes
                                                                Melanie Yerardi
                2 Technology Drive,
               ______________________________________
                                                               __________________________________          __________________________________              
               Street                                          __________________________________          __________________________________
               ______________________________________
                Westborough,      MA         01581
               ______________________________________             Address                                                                                  
               City                  State        ZIP Code       pakers1@yahoo.com
                                                                ________________________________
                                                                 melanie.yerardi@eclinicalworks.com
                                                                _________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
Debtor            AAF Players, LLC
                  _______________________________________________________                             Case number (if known)_____________________________________
                  Name




   Part 11:          Property the Debtor Holds or Controls That the Debtor Does Not Own

   21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

         
         ✔   None

              Owner’s name and address                              Location of the property                Description of the property                 Value

                                                                                                                                                        $_______
              ______________________________________                __________________________________      __________________________________
              Name
                                                                    __________________________________      __________________________________
              ______________________________________
              Street                                                __________________________________      __________________________________
              ______________________________________
              ______________________________________
              City                 State          ZIP Code




   Part 12:          Details About Environmental Information

   For the purpose of Part 12, the following definitions apply:
    Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).
    Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.
    Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

   Report all notices, releases, and proceedings known, regardless of when they occurred.


   22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


         
         ✔   No
            Yes. Provide details below.
              Case title                                     Court or agency name and address              Nature of the case                       Status of case

              _________________________________
                                                             _____________________________________         __________________________________          Pending
              Case number                                    Name
                                                                                                           __________________________________
                                                                                                                                                       On appeal

              _________________________________
                                                             _____________________________________
                                                             Street
                                                                                                                                                       Concluded
                                                                                                           __________________________________
                                                             _____________________________________                                                  
                                                             _____________________________________
                                                             City                    State     ZIP Code




   23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
         environmental law?

         
         ✔   No
            Yes. Provide details below.

             Site name and address                           Governmental unit name and address            Environmental law, if known             Date of notice


              __________________________________             _____________________________________         __________________________________       __________
              Name                                           Name
                                                                                                           __________________________________
              __________________________________             _____________________________________
              Street                                         Street                                        __________________________________
              __________________________________             _____________________________________
              __________________________________             _____________________________________
              City                 State     ZIP Code        City                   State      ZIP Code




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Debtor            AAF Players, LLC
                  _______________________________________________________                        Case number (if known)_____________________________________
                  Name




   24. Has the debtor notified any governmental unit of any release of hazardous material?
         
         ✔   No
            Yes. Provide details below.

             Site name and address                       Governmental unit name and address           Environmental law, if known                Date of notice


              __________________________________        ______________________________________        __________________________________           __________
              Name                                      Name
                                                                                                      __________________________________
              __________________________________        ______________________________________
              Street                                    Street                                        __________________________________
              __________________________________        ______________________________________
              __________________________________        ______________________________________
              City                 State    ZIP Code    City                 State        ZIP Code




   Part 13:            Details About the Debtor’s Business or Connections to Any Business


   25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.

         
         ✔   None


              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
     25.1.    __________________________________         _____________________________________________
              Name                                                                                             Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State     ZIP Code




              Business name and address                  Describe the nature of the business                   Employer Identification number
     25.2.                                                                                                     Do not include Social Security number or ITIN.

              __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                                                                               Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State     ZIP Code



              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

     25.3.    __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                         _____________________________________________         Dates business existed
              __________________________________
              Street                                     _____________________________________________
              __________________________________
              __________________________________                                                               From _______         To _______
              City                 State     ZIP Code




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Debtor               AAF Players, LLC
                     _______________________________________________________                          Case number (if known)_____________________________________
                     Name




   26. Books, records, and financial statements
         26a. List   all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                     None
                 Name and address                                                                                   Dates of service

                                                                                                                         03/01/18
                                                                                                                    From _______          Current
                                                                                                                                       To _______
     26a.1.       KongBasileConsulting, LLC
                 __________________________________________________________________________________
                 Name
                 1610 Eucalyptus Drive
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 San Francisco                                CA                   94132
                 __________________________________________________________________________________
                 City                                                State                 ZIP Code


                 Name and address                                                                                   Dates of service

                                                                                                                         11/12/18
                                                                                                                    From _______          Current
                                                                                                                                       To _______
     26a.2.       CliftonLarsonAllen LLP
                 __________________________________________________________________________________
                 Name
                 P.O. Box 740863
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 Atlanta                                       GA                30374-0863
                 __________________________________________________________________________________
                 City                                                State                 ZIP Code



         26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
                statement within 2 years before filing this case.
                
                ✔     None

                        Name and address                                                                            Dates of service

                                                                                                                    From _______       To _______
           26b.1.       ______________________________________________________________________________
                        Name
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code


                        Name and address                                                                            Dates of service

                                                                                                                    From _______       To _______
           26b.2.       ______________________________________________________________________________
                        Name
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code



         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                     None
                        Name and address                                                                            If any books of account and records are
                                                                                                                    unavailable, explain why


            26c.1.      Jane LeFevre
                        ______________________________________________________________________________               N/A
                                                                                                                    _________________________________________
                        Name
                         2937 Union St.                                                                             _________________________________________
                        ______________________________________________________________________________
                        Street                                                                                      _________________________________________
                        ______________________________________________________________________________
                         Clearwater                                    FL                 33759
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code



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Debtor                AAF Players, LLC
                      _______________________________________________________                       Case number (if known)_____________________________________
                      Name




                         Name and address                                                                         If any books of account and records are
                                                                                                                  unavailable, explain why


             26c.2.      ______________________________________________________________________________           _________________________________________
                         Name
                                                                                                                  _________________________________________
                         ______________________________________________________________________________
                         Street                                                                                   _________________________________________
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code



         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
              within 2 years before filing this case.

                
                ✔      None

                         Name and address


             26d.1.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code


                         Name and address


             26d.2.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code




   27. Inventories

         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
    
    ✔         No
            Yes. Give the details about the two most recent inventories.



                 Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                      inventory    other basis) of each inventory


                ______________________________________________________________________               _______      $___________________

                 Name and address of the person who has possession of inventory records


     27.1.       ______________________________________________________________________
                Name
                ______________________________________________________________________
                Street
                ______________________________________________________________________
                ______________________________________________________________________
                City                                                     State        ZIP Code




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Debtor
                  AAF Players, LLC
                  _______________________________________________________                          Case number (if known)_____________________________________
                  Name




              Name of the person who supervised the taking of the inventory                         Date of           The dollar amount and basis (cost, market, or
                                                                                                    inventory         other basis) of each inventory

              ______________________________________________________________________                _______       $___________________

              Name and address of the person who has possession of inventory records


     27.2.    ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                      State          ZIP Code


   28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
         people in control of the debtor at the time of the filing of this case.

              Name                                 Address                                                 Position and nature of any             % of interest, if any
                                                                                                           interest
               Charles Ebersol
              ____________________________
                                                    10866 Wilshire Blvd. Suite 300 Los Angeles, CA 90024
                                                   _____________________________________________            Manager
                                                                                                           ____________________________            _______________

              ____________________________         _____________________________________________           ____________________________            _______________

              ____________________________         _____________________________________________           ____________________________            _______________

              ____________________________         _____________________________________________           ____________________________            _______________

              ____________________________         _____________________________________________           ____________________________            _______________

   29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
         of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    
    ✔        No
           Yes. Identify below.

              Name                                 Address                                                 Position and nature of           Period during which
                                                                                                           any interest                     position or interest was
                                                                                                                                            held
              ____________________________         _____________________________________________           ______________________          From _____ To _____

              ____________________________         _____________________________________________           ______________________          From _____ To _____

              ____________________________         _____________________________________________           ______________________          From _____ To _____

              ____________________________         _____________________________________________           ______________________          From _____ To _____

   30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?
    
    ✔        No
           Yes. Identify below.

              Name and address of recipient                                                Amount of money or                   Dates              Reason for
                                                                                           description and value of                                providing the value
                                                                                           property


     30.1.    ______________________________________________________________                _________________________           _____________       ____________
              Name
              ______________________________________________________________
              Street                                                                                                           _____________
              ______________________________________________________________
              ______________________________________________________________                                                   _____________
              City                                      State           ZIP Code

              Relationship to debtor                                                                                           _____________

              ______________________________________________________________                                                   _____________

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